Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page1of54 Page ID #:129

Attachment 1
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 2of54 Page ID #:130

28

LITTLER MENDELSON, P.C,
Treat Towers
1255 Treat
Suite 600
Watnul Creek, CA 94597
925.932.2468

 

JOANNA L. BROOKS, Bar No. 182986

LITTLER MENDELSON, P.C.
Treat Towers
1255 Treat Boulevard, Suite 600 9 COrY
Walnut Creek, CA 94597 CONF ORMED ven
Telephone: 925.932.2468 ORIGINAL ot Califor
Fax No.: 925.946.9809 guperiot CONS Ancal#

county of Le
ANDREW M. SPURCHISE, Bar No. 245998 NOV 1 7 20\4
ROXANNA IRAN, Bar No. 273625 cler
MEL M.C. COLE, Bar No. 293265 2 EHO
LITTLER MENDELSON, P.C. sherri R. Ca yece Ber pennett, Nery
650 California Street, 20th Floor By: Ka

San Francisco, CA 94108.2693
Telephone: 415.433.1940
Fax No.: 415.399.8490

Attomeys for Defendant

HANDY TECHNOLOGIES, INC.
(D/B/A HANDY, F/K/A HANDYBOOK, INC.)

SUPERIOR COURT OF THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES, CENTRAL CIVIL WEST

LULU MALONE, individually and on Case No. BC555367
behalf of a class of similarly situated
individuals, NOTICE TO PLAINTIFF AND STATE
COURT OF FILING OF REMOVAL OF
Plaintiff, CIVIL ACTION TO FEDERAL COURT
Vv.
Complaint Filed: August 21, 2014
HANDYBOOK, INC., a Delaware FAC Filed: October 10, 2014
corporation; HANDY, a business entity Trial Date: None set.
form unknown; and DOES 1- 100,
inclusive,
Defendants.

 

 

 

Case No. BC555367
NOTICE TO PLAINTIFF AND STATE COURT OF FILING OF REMOVAL

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 3o0f54 Page ID #:131

1 | TO THE CLERK OF THE SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS
2 | ANGELES AND PLAINTIFF LULU MALONE:

3 PLEASE TAKE NOTICE that on November 17, 2014, Defendant HANDY
4 | TECHNOLOGIES, INC. (D/B/A HANDY, F/K/A HANDYBOOK, INC.) (“Defendant”) filed in the
5 | United States District Court in and for the Central District of California, its Notice of Removal of
Civil Action of the above-entitled action from the Superior Court of the State of California, County
of Los Angeles to said United States District Court. A copy of Defendant’s Notice of Removal of

Civil Action from State Court and its accompanying exhibits is attached hereto as Exhibit 1.

oO CO TT DH

Dated: November 17, 2014

' UM 3A:

 

12 ANDREW M. SPURCHISE
LITTLER MENDELSON, P.C.
13 Attorneys for Defendant
HANDY TECHNOLOGIES, INC.
14 (D/B/A HANDY, F/K/A HANDYBOOK,
15 INC.)

16 |] Firmwide:129908016.1 082196.1010
17
18
19
20
21
22
23
24
25
26
27

28
LITTLER MENDELSON, P.-C. Case No. BC555367

Treat Towers

1256 Treat B

wat aac NOTICE TO PLAINTIFF AND STATE COURT OF FILING OF REMOVAL
925.932.2468

 

 

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 4of54 Page ID #:132

Exhibit 1
Case 2:14-cv-08906-ODW-SH ‘Best#ent-44-1 Filed 11/24/14 Page 5 of 54 Page ID #:133

oOo ea NN ND AWA FSF W NH

po bw NH bP NHN NY NY NO KH ~ F =|— FF EF EO ES
“ID A BW NY YF CO UO WAnrAN A UA fF WH YH - S&S

28

LITTLER MENDELSON, P.C,
Treat Towers
1255 Traat Boulevard

Suite 600
Walnut Creek, CA 94597
926.932.2468

 

JOANNA L. BROOKS, Bar No. 182986 CLERK, US. DISTRICT COURT
LITTLER MENDELSON, P.C. aa

Treat Towers -
1255 Treat Boulevard, Suite 600 NOV | 7 2014
Walnut Creek, CA 94597

Telephone: 925.932.2468 sENTRAL DISTRIGT OF CALIEG!
Fax No.: 925.946.9809 | CENTRAL DISTRICT OF CALAN

ANDREW M. SPURCHISE, Bar No. 245998
ROXANNA IRAN, Bar No. 273625

MEL M.C. COLE, Bar No. 293265
LITTLER MENDELSON, P.C.

650 California Street, 20th Floor

San Francisco, CA. 94108.2693

Telephone: 415.433.1940

Fax No.: 415.399.8490

Attorneys for Defendant
HANDY TECHNOLOGIES, INC.

 

 

 

| (D/B/A HANDY, F/K/A HANDYBOOK, INC.)

UNITED STATES DISTRICT COURT

 

 

 

 

CENTRAL DISTRICT OF CALIFORNIA i
LULU MALONE, individually and & V LAs. 0 8 9 0 G O D W 5
behalf of a class of similarly situated 4
: individuals,
NOTICE OF REMOVAL OF CIVIL
Plaintiff, ACTION FROM STATE COURT
| 28 U.S.C. §§ 1332(d), 1441, 1446,
Vv. | | 453] §§ (d)
HANDYBOOK, INC., a Delaware TD
so ETAT ? : : Complaint Filed: August 21, 2014
corporation; HANDY, a business enti "1d. ?
form unknown; and DOES 4-100, 'Y | FAC Filed: October [0, 2014
inclusive, wre
Defendants.
NOTICE OF REMOVAL OF CIVIL
ACTION FROM STATE COURT Case No.
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page6of54 Page ID #:134

So Aa IN DH FP WY NO

BO NO NO NYO ND NY WN NO KK KF HF HF KF KF FEF OF ES
SY NAN WNW BB W NY KF CO CO Bn HDB A FP WD NY KF OO

28

LITTLER MENDELSON, P.C,
Treat Towers
1255 Treat Boulevard

 

Suite 600
Walnut Creek, CA 94597
925.932.2468

TO THE CLERK OF THE ABOVE ENTITLED COURT, PLAINTIFF LULU
MALONE, AND HER ATTORNEY(S) OF RECORD:

PLEASE TAKE NOTICE that Defendant HANDY TECHNOLOGIES,
INC. (D/B/A HANDY, F/K/A HANDYBOOK, INC.) (“Defendant”) hereby gives
notice of the removal of the above-entitled action from the Superior Court of the State
of California, County of Los Angeles, to the United States District Court for the
Central District of California. This Notice of Removal (“Notice”) is based on 28
U.S.C. sections 1332(d), 1441, 1446, and 1453, and more specifically the following:
I. PROCESS, PLEADINGS, AND ORDERS

l. On or about August 21, 2014, Plaintiff Lulu Malone (“Plaintiff”)
filed an original complaint in the Superior Court of the State of California, County of
Los Angeles, Case No. BC555367 (the “Complaint”). A true and correct copy of the
Summons and Complaint, and all attached documents, are attached hereto as Exhibit
A.

2. The Complaint alleges causes of action for: (1) failure to pay
minimum wages; (2) liquidated damages pursuant to Labor Code § 1194.2; (3) failure
to pay overtime compensation; (4) failure to provide meal periods; (5) failure to
provide rest periods; (6) failure to reimburse expenses; (7) failure to provide itemized
wage statements; (8) failure to timely pay wages under Labor Code § 203; and (9)
unfair competition.

3. Plaintiff served Defendant by mail with the documents attached as
Exhibit A on August 29, 2014. A true and correct copy of the Service of Process
Transmittal to Defendant is attached hereto as Exhibit B.

4. On or about October 10, 2014, Plaintiff filed a First Amended
Class Action Complaint (“FAC”). A true and correct copy of the Summons and FAC,
and all attached documents, are attached hereto as Exhibit C.

5. The FAC alleges identical claims to those in the Complaint, with

the addition of a claim for penalties authorized under the Private Attorneys General

NOTICE OF REMOVAL OF CIVIL
ACTION FROM STATE COURT Case No.

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 7 of54 Page ID #:135

oOo mA HN HD A FP W NHN KF

NO po NO HN NH HN KH ND & HH HF HF KF RP PEO RP ES
SI DN WW BB W NYO KH CO OO Wn HD A BPW NY KF O&O

28

LITTLER MENDELSON, P.C,
Treat Towers
1255 Treat Boulevard

 

Suite 600
Walnut Creak, CA 94597
925.932.2468

Act of 2004 (“PAGA”).

6. Plaintiff served Defendant by mail with the documents attached as
Exhibit C on October 14, 2014. Defendant received these documents on October 17,
2014. A true and correct copy of the Service of Process Transmittal to Defendant is
attached hereto as Exhibit D.

7. Plaintiff served Defendant with a Notice of Initial Status
Conference and Initial Status Conference Order by mail on October 16, 2014. A true
and correct copy of said Notice of Initial Status Conference is attached hereto as
Exhibit E.

8. On November 13, 2014, Defendant filed a Notice of Appearance
and Motion for Peremptory Challenge. A true and correct copy of the Notice of
Appearance is attached as Exhibit F. A true and correct copy of the Motion for
Peremptory Challenge, and all attached documents, are attached hereto as Exhibit G.

9. Pursuant to 28 U.S.C. § 1446(a), the attached exhibits constitute all
process, pleadings and orders served upon Defendant or filed or received in this action
by Defendant.

Il. TIMELINESS OF REMOVAL

10. Section 1446(b) specifies two time periods within which a
defendant must remove a class action from state court to federal court. If the initial
pleading sets forth the basis for removal, the notice of removal must be filed within 30
days of receiving the pleading or summons by service. 28 U.S.C. § 1446(b)(1). If,
based on the initial pleading, the case is not removable, the defendant must file a
notice of removal within 30 days of receiving “an amended pleading, motion, order or
other paper from which it may first be ascertained that the case is one which is or has
become removable.” 28 U.S.C. § 1446(b)(3).

11. Removal of this action is timely because this Notice has been filed
within thirty days from October 17, 2014, the date Defendant received the FAC and

first became aware that the action was removable. See Ex. D.

NOTICE OF REMOVAL OF CIVIL
ACTION FROM STATE COURT 2. Case No.

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 8of54 Page ID #:136

0 ANN A FP WY YN

NO NO YP NHN NH HM KN KN FR KF HF Ke FS KF KF PS SS le
SI HN NA BW NYO KH CO OO WA HD A fF WY NY KF O&O

28

LITTLER MENDELSON, P.C.
Treat Towers
1255 Treat Boulevard

 

Suite 600
Walnut Creek, CA 94597
925.932.2468

Il. CAFA JURISDICTION PURSUANT TO 28 U.S.C. § 1332(d)

12. Removal jurisdiction exists because, in relevant part, this Court has
original jurisdiction over this action under the Class Action Fairness Act of 2005
(“CAFA”), 28 U.S.C. § 1332(d). CAFA grants federal district courts original
jurisdiction over civil class action lawsuits in which any plaintiff is a citizen of a state
different from any defendant, and where the amount in controversy exceeds
$5,000,000, exclusive of interest and costs. See 28 U.S.C. § 1332(d). CAFA
authorizes removal of such actions in accordance with 28 U.S.C. § 1446. As set forth
below, this case meets each CAFA requirement for removal, and is timely and
properly removed by the filing of this Notice. Specifically, this Court has jurisdiction
over this case under CAFA because it is a civil class action wherein: (1) the proposed
class contains at least 100 members; (2) Defendant is not a state, state officials or
other governmental entity; (3) there is diversity between at least one class member and
one defendant; and (4) the amount in controversy for all class members exceeds $5
million.

A. The Putative Class Contains More Than 100 Members.

13. Plaintiff defines the class as: “All persons who are employed or
have been employed by Defendants within the State of California as cleaning
personnel for Defendants’ customers from four years prior to the filing of this action
up to and including the entry of an appropriate class certification order.” FAC { 33.
Plaintiff alleges a class of over “250 Handybook ‘maids’ within the state of
California.” FAC, 9 34(a). Defendant does not dispute this number; in fact, a
preliminary investigation has revealed that no fewer than 2,058 individuals, including
Plaintiff, have provided cleaning services in California arranged through Defendant’s
online booking platform between August 21, 2010 (four years prior to the filing of the
Complaint) and the present. (Declaration of Carolyn Childers (“Childers Decl.”),

{3.) Accordingly the putative class contains more than 100 members.

NOTICE OF REMOVAL OF CIVIL |
ACTION FROM STATE COURT 3. Case No.

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page9of54 Page ID #:137

own YN DA FP WH YPN

NO wo WN WH NH KN HN HN RR KR KF KF KF KF EF ES eS
SI NH A BW NYO KY OD OHO WnAN HD A fF WW NY KF OS

28

LITTLER MENDELSON, P.C,
Treat Towers
1256 Treat Boulevard

 

Suite 600
Walnut Creek, CA 94597
925.932.2468

B. Defendant Is Not A Governmental Entity.
14. Defendant is a privately held corporation incorporated in the State

of Delaware with a principal place of business in New York, New York, and is not a
state, a state official or any other governmental entity. (Childers Decl., { 2.)
C. __ Plaintiff’s Citizenship Is Diverse From Defendant’s Citizenship.

15. CAFA’s minimal diversity requirement is satisfied, inter alia,
when “any member of a class of Plaintiffs is a citizen of a State different from any
defendant.” 28 U.S.C. §§ 1332(d)(2)(A), 1453(b). Diversity of citizenship exists so
long as no plaintiff is a citizen of the same state as any defendant at the time the action
was filed and at the time of removal. For purposes of removal, the citizenship of
defendants sued under fictitious names is disregarded and only named defendants are
considered. 28 U.S.C. § 1441(a).

16. According to the FAC, Plaintiff resides in the state of California.
FAC, J 14. For diversity purposes, a person is a “citizen” of the state in which he or
she is domiciled. Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001)
(a person’s domicile is her permanent home, where she resides with the intention to
remain or to which she intends to return). Therefore, Plaintiff is a citizen of
California.

17. For diversity purposes, a corporation “shall be deemed a citizen of
any State by which it has been incorporated and of the State where it has its principal
place of business.” 28 U.S.C. §1332(c)(1).

18. A corporation’s principal place of business is its “nerve center.”
See Hertz Corp. v. Friend, 559 U.S. 77, 92-93 (2010). Except in unusual
circumstances, a corporation’s headquarters is its nerve center. Jd. Utilizing the
“nerve center” test, it is undisputable that Defendant’s principal place of business is
the State of New York. Defendant is a corporation organized and incorporated under
the laws of the state of Delaware, and its headquarters is in the state of New York.
(Childers Decl., § 2.) Defendant’s primary administrative and financial offices,

NOTICE OF REMOVAL OF CIVIL
ACTION FROM STATE COURT 4. Case No.

 
Case

Oo Oy HD WT BR WY YO

NO wo Wb HN Nb KH NO NO Se He Fe Fe FEF Fe Or Oe eS
Sa NWN OA BP W NYO KH DOD ODO Dns WB A BP WO YP KK OS

28

LITTLER MENDELSON, P.C,
Treat Towers
1255 Treat Boulevard

 

Suite 600
Walnut Craek, CA 94597
925.932.2468

2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 10o0f54 Page ID #:138

including human resources, benefits and payroll, are located in New York, and a
substantial majority of the corporate decisions, including operational, executive and
administrative policy are all made at its headquarters in New York. (/d.)

19. Diversity of citizenship therefore exists here because the named
Plaintiff and Defendant are citizens of different states, in that Plaintiff is a California

citizen and Defendant is a citizen of Delaware and New York.

D. The Amount In Controversy As Alleged In Plaintiff's FAC Exceeds
$5 Million.

20. The amount put “in controversy” by Plaintiff and the putative class
members’ claims asserted in Plaintiff's FAC exceeds the $5,000,000 jurisdictional
amount required by CAFA. See 28 U.S.C. § 1332(d)(2). Specifically, and as
described in further detail below, the FAC seeks (at least) $11,936,400 under the
newly-added PAGA claim alone, which exceeds CAFA’s jurisdictional minimum.

21. In measuring the amount in controversy, “‘a court must assume that
the allegations of the complaint are true and that a jury [will] return[] a verdict for the
plaintiff on all claims made in the complaint.’” Kenneth Rothschild Trust v. Morgan
Stanley Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal. 2002). The ultimate
inquiry is what amount is put “in controversy” by Plaintiff's FAC, not what Defendant
will actually owe if Plaintiff prevails. See Rippee v. Boston Market Corp., 408 F.
Supp. 2d 982, 986 (S.D. Cal. 2005) (“It’s not a question as to what you would owe.
It’s a question as to what is in controversy.”).

22. In the Ninth Circuit, the Court and the parties are bound by an
objective review of the complaint based on its contents, not what could have been
known. Under CAFA, where a complaint fails to plead a specific amount of damages,
the defendant seeking removal “must prove by a preponderance of the evidence that
the amount in controversy requirement has been met.” Abrego Abrego v. Dow Chem.
Co., 443 F.3d 676, 683 (9th Cir. 2006); see also Rodriguez v. AT&T Mobility Servs.
LLC, 728 F.3d 975 (9th Cir. 2013). However, Defendant is not required to “research,

NOTICE OF REMOVAL OF CIVIL
ACTION FROM STATE COURT S. Case No.

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 11o0f54 Page ID #:139

0 AN WD A BP WY LPO =

NON wpoO PO NO HN HN HN KN BH HB HB KH KH He Se SR eR
SI DBD A BP W NY KF DOD HO WDnAN DH A FBP WY NY KF CO

28

LITTLER MENDELSON, P.C.
Treat Towers
1265 Treat Boulevard

 

Suite 600
Walnut Creek, CA 94597
925.932.2468

state, and prove the plaintiff's claims for damages.” Fong v. Regis Corp., 2014 U.S.
Dist. LEXIS 275, *6 (N.D. Cal. Jan. 2, 2014) (citations omitted); see also Kuxhausen
v. BMW Fin. Servs. NA LLC, 707 F.3d 1136, 1141 n.3 (9th Cir. 2013) (noting that
plaintiff “is incorrect in asserting that because [the defendant] could have ventured
beyond the pleadings to demonstrate removability initially (as it did later upon receipt
of the FAC) it was therefore obligated to do so”) (emphasis in original).

23. To determine removability, Defendant is not “obligated to
extrapolate the value of the putative class’s claims based on the alleged value of the
named Plaintiff's claims” or make estimates based on “plausible” amounts.
Kuxhausen, 707 F.3d at 1141. “This is because courts ‘don’t charge defendants with
notice of removability until they’ve received a paper that gives them enough
information to remove. This principle helps avoid a ‘Catch-22’ for defendants
desirous of a federal forum. By leaving the window for removal open, it forces
plaintiffs to assume the costs associated with their own indeterminate pleadings. That
is only fair after all, because—even under CAFA—‘the burden is on the party
removing the case from state court to show the exercise of federal jurisdiction is
appropriate.’” Jd. (internal citations omitted).

24. Here, the original action was not removable on its face because it
did not seek at least $5,000,000 in damages. In fact, Plaintiffs original Complaint is
entirely silent (as is the FAC, for that matter) as to the amount in controversy. The
original Complaint set forth nine causes of action and purported to bring claims on
behalf of “over 250 Handybook ‘maids’ within the State of California.” See Ex. A.
However, the allegations of the initial Complaint are insufficient to provide a basis for
Defendant to meet its burden of proof for CAFA removal. Indeed, given the complete
absence of specific allegations as to the alleged amount of minimum wages and
overtime Defendant failed to pay Plaintiff and the putative class members, the hours
regularly worked by the Plaintiff and the putative class members, the number of daily

or weekly meal and rest periods allegedly not provided, or the specific “wage rate”

NOTICE OF REMOVAL OF CIVIL
ACTION FROM STATE COURT 6. Case No.

 
Case, 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 12 o0f54 Page ID #:140

So DHA ND nA FBP WW YN

NO WN HN HO NH HH NH HNO KR HR KH BS HB BF PS eS Sl
SH WA BP WY NYO KY Oo OBO Wns HDB A HP W NY KF CO

28

LITTLER MENDELSON, P.C.
Treat Towers
1255 Treat Boulevard

 

Suite 600
Walnut Creek, CA 94597
925,932,2468

Plaintiff and the putative class members received, Defendant could not reasonably
conclude an amount in controversy exceeding $5,000,000 from the face of the
Complaint. At best, Defendant could have determined there may have been $12,500
at issue in Plaintiff's Eighth Cause of Action. This calculation is made based on the
assumption that the 250 putative class members alleged in the Complaint worked at
least one “pay period” during the time period relevant to the Complaint (250 putative
class members x $50 per initial pay period x 1 initial pay period). However, without
additional information as to the claimed damages at issue in the initial Complaint or
the number of “pay periods” worked by each putative class member, Defendant could
not establish, without substantial investigation, that the amount in controversy
requirement under CAFA was met. Fong, 2014 U.S. Dist. LEXIS 275, *6.

25. But the addition of the Tenth Cause of Action in the FAC—for
penalties under PAGA, Labor Code § 2698 et seg.—added a claim that, as revealed by
only a preliminary investigation into the size of the class, creates potential exposure
for civil penalties for every “pay period” in which a putative class member suffers
virtually any violation of the Labor Code. See, e.g., Cal. Labor Code § 2698 et seq.
Indeed, the addition of the PAGA cause of action has increased the “amount in
controversy” from likely below the $5,000,000 threshold to unquestionably far above
it, thus, bringing it under this Court’s jurisdiction under CAFA.

26. Defendant denies the validity and merit of Plaintiff's claims, the
legal theories upon which they are purportedly based, and the claims for monetary and
other relief that flow from them. However, for purposes of removal only, and without
conceding that Plaintiff or the putative class is entitled to any damages, civil or
statutory penalties or other relief, it is readily apparent that the aggregated claims of
the putative class as alleged in the FAC and the claimed PAGA penalties alleged
therein establish an “amount in controversy” in excess of the jurisdictional minimum
of $5,000,000.

27. PAGA provides that by following the provisions specified in Labor

NOTICE OF REMOVAL OF CIVIL
ACTION FROM STATE COURT 7. Case No.

 
Case, 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 13 0f54 Page ID #:141

Co me I HD NWN BP WO HO

NO NO NO NH WH WN NN NO HH Re Re Re RR RE RS
SI DN WA BW NO K§ @©O OO Wn DBD A FR W KN KF S&S

28

LITTLER MENDELSON, P.C.
Treat Towers
1255 Treat Boulevard

 

Suite 600
Walnut Craek, CA 94597
925.932.2468

Code section 2699.3, any provision of the Labor Code which provides for a civil
penalty to be collected by the Labor and Workforce Development Agency may be
recovered by an “aggrieved employee on behalf of himself or herself or other current
and former employees.” Labor Code § 2699(a).

28. Plaintiff alleges that she seeks PAGA penalties as a result of
Defendant’s alleged violations of Labor Code sections 201, 202, 203, 204, 221, 226,
226.7, 226.8, 512, 1194.2, 1197.1, 2753, and 2810.5. FAC, § 82. Defendant
addresses the civil penalties recoverable under these sections as follows: !

29. Labor Code sections 201, 202 and 203 address the payment of
wages upon termination. These sections do not have civil penalty provisions
associated with them. Taking Plaintiff’s claims as true, Labor Code section 2699(f)
default penalties would apply. Accordingly, assuming even just one “pay period”
worked by each putative class member, the amount in controversy here is $205,800
(2,058 putative class members x $100 per pay period x 1 pay period).”

30. Civil penalties for Labor Code section 204 violations are
recoverable under section 210. Assuming even just one “pay period” worked by each
putative class member, this amounts to $205,800 (2,058 putative class members x
$100 per pay period x 1 pay period) in controversy as to this claim.

31. Plaintiff also alleges civil penalties for Labor Code section 221
violations, which are recoverable under section 225.5. Assuming even just one “pay
period” worked by each putative class member, this amounts to $205,800 (2,058
putative class members x $100 per pay period x 1 pay period) in controversy as to this
claim.

32. Civil penalties for violations of Labor Code 226(a) are recoverable

 

' Defendant does not address Plaintiff's request for penalties under Labor Code
section 1197.1 as that statute is itself a civil penalty provision.

* Defendant’s ongoing investigation is highly likely to confirm that many putative
class members worked more than a single pay period.

NOTICE OF REMOVAL OF CIVIL 8 Case No
ACTION FROM STATE COURT " ‘

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 14 of54 Page ID #:142

Co Oo SN DN AH BP WD LPO

NO NO HB NH WB HN YN NHN HR RR KR Se KS HK KF KF ES
SI NA OA BW NYO KH OD OO DN HD Nn BPW NY KS O&O

28

LITTLER MENDELSON, P.C,
Treat Towers
1255 Treat Boulevard

 

Suite 600
Walnut Creek, CA 94597
925.932.2468

under PAGA’s default penalty provisions. Again, assuming even just one “pay
period” worked by each putative class member, this amounts to $205,800 (2,058
putative class members x $100 per pay period x | pay period) in controversy as to this
claim.

33. Labor Code sections 226.7 and 512 address the provision of meal
and rest breaks. These sections do not have a civil penalty provision associated with
them, and thus, taking Plaintiff's allegations as true, Labor Code section 2699(f)
penalties would apply. Accordingly, assuming even just one “pay period” worked by
each member of the putative class, the amount in controversy here would be $205,800
(2,058 putative class members x $100 per pay period x 1 pay period).

34. Labor Code section 226.8(b) provides for civil penalties for
violations of section 226.8(a) in the amount of not less than $5,000 and not more than
$25,000 for each violation, depending on whether or not the employer “has engaged in
or is engaging in a pattern or practice” of violating subsection (a). Defendant
assumes, without conceding this is the appropriate method of calculation, that
Plaintiff's FAC seeks recovery of no less than $5,000 on behalf of each and every
putative class member (i.e., “each violation”). Given that there are at least 2,058
putative class members, Plaintiff seeks recovery of no less than $10,290,000 under
this section alone (2,058 putative class members x $5,000).

35. Civil penalties for Labor Code section 1194.2 violations are
recoverable under section 1197.1. Assuming each of the at least 2,058 putative class
members worked even just one “pay period,” this amounts to $205,800 (2,058
putative class members x $100 per pay period x 1 pay period) in controversy here.

36. Labor Code section 2753 is not associated with a civil penalty
provision. Taking Plaintiff's allegations as true, PAGA’s default penalties would
apply. Thus, the amount in controversy as to this claim under PAGA, assuming even
just one “pay period” worked by each putative class member, is at least $205,800

(2,058 putative class members x $100 per pay period x 1 pay period).

NOTICE OF REMOVAL OF CIVIL
ACTION FROM STATE COURT 9. Case No.

 
Case, 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 15 o0f54 Page ID #:143

o0 eA ND HA FF WD NO

NO po bh bo bh bh bh be HR He Re ee BS eS eS Se
NS DH WA Bh W NP KH OD OO Wn DB A BP WW YN YK CO

28

LITTLER MENDELSON, P.C,
Treat Towers
1256 Treat Boulevard

 

Suite 600
Watnut Creek, CA 94597
925.932.2468

37. Violations of section 2810.5 are also recoverable under PAGA’s
default provision. Accordingly, assuming even just one “pay period” worked by each
putative class member, the amount in controversy here is also $205,800 (2,058
putative class members x $100 per pay period x 1 pay period).

38. Thus, the total sum alleged under Plaintiff's PAGA claim alone is
no less than $11,936,400. Having conducted a preliminary investigation into the
number of putative class members following the addition of the PAGA claim,
Plaintiff's Eighth Cause of Action seeks no less than $102,900 (2,058 putative class
members x $50 per initial pay period x 1 initial pay period). Therefore, the amount in
controversy in this matter is no less than $12,039,300 ($11,936,400 + $102,900).°
IV. VENUE IS PROPER

39. This action was filed in the Superior Court of the State of
California, County of Los Angeles. Venue properly lies in the United States District
Court for the Central District of California because that is the district court where the

state court action is pending. 28 U.S.C. § 1441(a).

 

3 Tt should be noted that while the Ninth Circuit Court of Appeals in Urbino v. Orkin
Servs. of Calif, Inc. held that employees’ PAGA penalties cannot be aggregated for
purposes of establishing the amount in controversy, this case involved removal of a
representative PAGA action involving alleged diversity jurisdiction and did not
address the question of whether PAGA penalties, brought in conjunction with a class
action, can be aggregated for purposes of CAFA removal (which allows for
ageregating under 28 U.S.C. § 1332(d)(6)). See Urbino v. Orkin Servs. of Calif., Inc.,
726 F.3d 1118 (9th Cir. 2013); cf Stafford v. Dollar Tree Stores, Inc., 2014 U.S. Dist.
LEXIS 42564, *9 (E.D. Cal. Mar. 28, 2014) (Urbino does not implicate cases
removed under CAFA); Ortiz v. CVS Caremark Corp., 2014 U.S. Dist. LEXIS 36833,
*8-10 (N.D. Cal. Mar. 18, 2014) (noting that Urbino did not address the interplay
between Rule 23 and PAGA); Pagel v. Dairy Farmers of Am., Inc., 986 F. Supp. 2d
1151, 1158 (C.D. Cal. 2013) (“The Ninth Circuit’s decision in Urbino addressed the
aggregation question only in the context of diversity jurisdiction, not in the context of
CAFA.”); Willner v. Manpower Inc., 2012 U.S. Dist. LEXIS 62227, *24-25 (N.D.
Cal. May 3, 2012) (noting that PAGA “does not fall under the terms of Rule 23”).

NOTICE OF REMOVAL OF CIVIL
ACTION FROM STATE COURT 10. Case No.

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 16 of54 Page ID #:144

0 FANN UH BW NY Ff

NO NO PO HD WH HO NH HNO RR RR FR FR KF KF FEF Se
SI HD A BW NYO KH CO OO WA HD A HBP W NY KY O&O

28

LITTLER MENDELSON, P.C,
Treat Towers
1255 Treat Boulevard

 

Suite 600
Walnut Creek, CA 94597
925.932.2468

V. NOTICE TO STATE COURT AND PLAINTIFF’S COUNSEL
40. Concurrently with the filing of this Notice in the United States

District Court for the Central District of California, written notice is being given to
Plaintiff's counsel of record, Stephen M. Harris, Esq. of Knapp Petersen & Clarke,
and Robert L. Starr, Esq., of the Law Offices of Robert L. Starr, and a copy of this
Notice will be filed with the Clerk of the Superior Court of the State of California,
County of Los Angeles, as required by 28 U.S.C. § 1446(d).
VI. CONCLUSION

41. Defendant has established by a preponderance of the evidence that
the amount in controversy for this class action exceeds the $5,000,000 minimum for
federal jurisdiction. For this reason and the others discussed above, removal of this

action is appropriate under 28 U.S.C. §1332(d).

uw.gJ

ANDREW M. SPURCHISE
LITTLER MENDELSON, P.C.
Attorneys for Defendant
HANDY TECHNOLOGIES, INC.
D/B/A HANDY, F/K/A
NDYBOOK, INC.)

Dated: November 17, 2014

 

Firmwide: 12990781 1.6 082196.1010

NOTICE OF REMOVAL OF CIVIL
ACTION FROM STATE COURT II. Case No.

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page17 of54 Page ID #:145

Exhibit A
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 18 o0f54 Page ID #:146

 
 

 

 

 

po foo (oo | SUM-100
_SUMHONS a Se
[EE IT: ‘ ORIGINAL-FILED |
NOTICE TO DEFENDANT: ; Superior Court of California
(AVISO. AL DEMANDADO): Gounty of ‘Los-Anqgeles
HANDYBOOK, INC., and DOES 1-100, inclusive AUG.21-2014

Sherri R. Carter, Executive Officer/Clerk

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE): By Shaunya Bolden, Deputy
Plaintiff LULU MALONE, individually and on behalf of a class of similarly situated

individuals

 

 

None You: have.been. sued.-The court may decide against you without your being heard unless you respond within 30 days.-Read the: information
elow. . CO Se os pe ; oe tS vs
You‘have-30 CALENDAR DAYS after this summons. and legal papers.are served on you to file a written response at this:court and have-a copy.
served on'the' plaintiff. A lettér or phone: call. will not:protect you. Your-written response must be-in' proper legat form if you. want the court to hear your
casé. There may be'a court form that you.can use for your response. You can find these court forms and more Information at the California: Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
the court clerk for'a fee waiver form. If you do not file-your responsé.on time, you may lose the case by default, and your wages, money, and property
may. be taken without further warning from the court. -

Thére-are other Jegal requirements. You may want to call-an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service..1f you cannot afford an attorney, you may-be eligible for free legal services from a nonprofit egal services program. You can locate
these nonprofit groups-at the California Legal Services Web site (www./awhelpcalifornia.org), the Califomla Courts Online Self-Help: Center
(www. courtinfo: 6a. gov/selfhelp), ot by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs.on any- settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
|A a +0 han demandado. Si no responde dentro de:30-dfas, 1a corte puede decidir en su contra sin escuchar su versién. Lea la informacion a
cantinuacion. -

Tiane 30:DIAS:DE CALENDARIO después de que le entrequen esta citacién y.papeles.Jegales para presentar una respuesta por escrito'en esta
corte y hacer que se‘entrague una copia al demandanite. Una carta o.una llamada telefénica no lo protegen. Su respuesta por escrito tiene que estar
en.formato legal. correcto.si desea que procesen su cdso.enJa corte. Es posible que haya un formulario que usted pueda: usar para su respuesta,
Puede encontrar estos formularios de.la.corte-y mas informacién en el Centro de: Ayuda de las Cortes:de Califomia (www.sucorte.ca.gov), er la:
biblioteca de leyes de su condado’o en Ja corte que le quede mas-cerca. Si no puede pagar la cuota.de presentacién, pida al secretario de la corte
que le-dé.un formulario de-exencién:de pago.de-cuotas: Sino presenta su respuesta a tiempo, puede perder el caso por incumplimiento:y-la corte Je
podré quitar su sueldo, dinero y bienes sinmas advertencia, a Be

Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, ‘puede llamar a:un servicio de
remision a abogadas..Si no puede pagar a.un:abogado, es posible que cumpla con los requisitos para. obtener servicios legales gratuitos de un
programa de servicios legalés.sin fines dé lucro. Puede ericontrar estos grupos sin fines de lucro en el sitio web.de California Legal Services,

(www .lawhelpcalifomia.org),: en ef Centro.de Ayuda’ de. las Cortes de California, (www.sucorte.ca.gov) 0 poniéndose en contacto con la corte o el
colegio de abogados locales. AVISO: Por ley, la corté tiene derecho a réclamar las.cuotas y los costos exentes por imponer un gravamen sobre
cualquier recuiperacion:de $10,000.64 mas-de valor recibida mediante un acuerdo o una concesién de arbitraje en-un.caso de derecho civil. Tiene que

 

 

 

  
 
  

  

court is: CASE NUMBER:

 

 

 

 

(El nombre y direccién deh re-es): eo , (Namero del y pe |
SUPERIOR:COURT OF THE STATE OF CALIFORNIA BC 555-367.
COUNTY OF LOS ANGELES “ ,

111 NORTH HILL:STREET -

LOS ANGELES, CA 90012

CENTRAL: DISTRICT: -~

The name, address, and: téleptione number of plaintiff's attorney, or plaintiff without an attorney, is: oo
(EI nombre, Ja direccién y el ndmero de teléfono del:abogado del demandante, o del demandante que ne tiene abogado, es):
Stephen M. Harris (SBN 110626) 818-547-5000 FAX: 818-547-5329 , ,
Knapp, Petersen & Clarke

 

 

550 North Brand Boulevard, Suite 1500 Glendale, CA 9120@¥g,,. Wy,

DATE: | AUR F900 CEMA Aan , Deputy

(Fecha) _ G otg~ of Secreta “TR (Adjunto)
_ (For proof of service of this summons, use Proof oF eeivice of Summons (form POS-010).) / KS

(Para prueba de-entrega de esta citatién use.el formulario Proof of Service of Summons, (POS-010)). Vy

 

[SEAL] | ‘NOTICE TO THE PERSON SERVED: You are served
1. [].as.an individual defendant. .
2. {las the person sued under the fictitious name of (specify):

3. (J onbehalt of (specify):

  
  

 

 

 

 

 

 

under: Cc CCP 4416.10 (corporation) [_] CCP 416.60 (minor)

[_] CCP 416.20. (defunct corporation) [_] CCP 416.70 (conservatee)

[_] CCP 416.40 (association or partnership) [cece 416:90 (authorized person)

[_] other (specify):

4. [{_] by personal delivery on (date):
Pago 1 of 4
IAN ° i 0, 4
aetna | SUMMONS Rowen gaia] Rc
SUM-100 [Rev. July 1, 2009] .

 

 

 
Case 2:14-cv-08906-ODW-SH: Document 11-1 Filed 11/24/14 Page 19 of 54 ‘Page ID #:447

Lo,

re

 

 

 

SHORT TITLE: , - CASE NUMBER

Malone v. Handybook, Inc. BC 5 a 5 3 6 0

 

 

CIVIL CASE COVER SHEET ADDENDUM AND

 

(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

 

 

This form Is required pursuant to Local. Rule 2. 0 in: all new civil case filings in the Los Angeles Superior Court.

 

item I 1. Check the types of hearing and fill in the estimated length of hearing expected for this case:
JURY TRIAL? YES CLASSACTION? Dd] Yes. LIMITED CASE? 1] YES TIME ESTIMATED FOR TRIAL _7-10 [7] HouRS/ Bd pays

Item II. Indicate the correct district and. courthouse location (4 steps ~ If you checked "Limited Case", skip to Item Il!, Pg. 4):

Step 1: After first completing the Civil Case Cover Sheet form, find the main Civil Case Cover Sheet heading for your
case in the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected.

Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this case.

Step 3: In Column C, circle the reason for the court: location choice that applies to the type of action you have
checked. For any exception. to the court location, see Local. Rule 2. 0.

 

Applicable Reasons: for Choosing Courthouse Location (see Column C below)

 

 

 

1. Class actions must be fi led i in the Stariley Mosk Courthouse, central district. _6. Location of property or permanently garaged vehicle.

2. May be filed in central (other county, or no bodily injury/property damage). . 7, Location where petitioner resides.

3. Location where cause of action arose. 8. Location wherein defendant/respondent functions wholly.
4, Location where bodily injury, death or damage cecurred. .. . 9. Location where one or more of the parties reside.

5. Location where performance required :or defendant. resides. 10. Location ‘of Labor Commissioner Office

Step 4: Fill in the information requested on page 4 in Item Ill; complete Item IV. Sign the declaration.

 

 

Auto (22) «| ({FA7100 Motor Vehicle - Personal lnjury/Property Damage/Wrongful Death 1.244.

 

 

 

Auto
Tort

Uninsured Motorist (46) [JA7110 Personal Injury/Property Damage/Wrongful Death - Uninsured Motorist | 1. 2.. 4.

 

 

 

[EJ A6070 Asbestos Property Damage

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

Asbestos. (04, : ;
Pr 04) CJ A7221 Asbestos.- Personal InjuryWrongful Death ~ 2.
oo _ . . .. . .
ae " ™
& $ Product Liability (24) ‘ [47260 Product Liability (not asbestos or toxic/environmental) 1.,2,,3.,4., 8.
235 oe ; LC] A7210 Medical Malpractice - Physicians & Surgeons : 1,4.
= Medical Malpractice (45) . a | ;
35 [-J.a7240 Other Professional Health Care Malpractice 1., 4.
Ss
3 3 Other [Jar2s0 Premises Liability (e.g., slip and fall) 4
5 = Personal Injury [J a7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g. 1.4
= sg Property Damage assault, vandalism, etc.) , oe
wrong) [7] 47270 Intentional Infliction of Emotional Distress 1.3.
t) A7220 Other Personal Jnjury/Property Damage/Wrongful Death 14
LACIV 109 (Rev. 03/11) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0
0
LASC Approved 03-04 AND STATEMENT OF LOCATION

American LegalNet, Inc,

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 20 of 54 Page ID #:148

 

   

 

 

SHORT TITLE: CASE NUMBER
Malone v. Handybook, Inc.

 

 

 

 

           

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
   
 

  

Business Tort (07) | EJacoz9- Other Commercial/Business Tort (not fraud/breach of contract) 1.,3.
$ © Civil Rights (08) 2146005 Civil Rights/Discrimination 1., 2.3,
os
a. & Defamation (13) [-]A6010 Defamation (slander/libel) 1., 2, 3.
Ss
= S Fraud (16) ‘[).A6013. Fraud (no contract) 1.,2..3.
3 £ fe —
: , ‘ | i oy Bey De
$ % Professional Negligence (25) Lya6o17 Legal Maipract ce . 1243
& = [_] asoso Other Professional Malpractice (not medical or !egal) 1.,2.,3.
Other (35) [J aso25 Other Non-Personal Injury/Property Damage tort 2., 3.
e Wrongful Termination (36) | [_]A6037 Wrongful Termination 1.2.3
& : 4
~~ .
g BX] Acoz4. Other Employment Complaint Case ‘6 2.,3.
2. Other Employment (15) f- & as '
& [].a6109 Labor Commissioner Appeals 10.
“Eclasoo4 : Breach of Rentai/Lease Contract (not unlawful detainer or wrongful 2.5
OL +o: »-:evietion) 7
Breach of on ‘[E) a6008 :ContracyWarranty Breach -Seller Plaintiff (no fraudinegligence) 2,5...
(not insurance) [J As019 Negligent Breach of ContractWarranty (no fraud) 16,245,
[[Ja6028 other Breach of Contract/Warranty (not fraud or negligence) 12.48.
8 collect 09)  [-]1A6002. Collections Case-Seller Plaintiff — 2., 6.6.
ollections . ,
8 : CK AG012 Other Promissory Note/Collections Case 2., 5.
Insurance Coverage (18) | [] as015. insurance Coverage (not complex) 1.,2.,5., 8
[-]As009 Contractual Fraud 1.,2., 3,5.
Other Contract (37) [146031 Tortious interference 1.,2.,3., 5.
Cc] A6027 :. Other Contract Dispute(not breach/insurance/fraud/negligence) 1.,,2.,,3., 8.
er gondemnation (1 a CI A7300 Eminent Domain/Condemnation Number of parcels 2.
g Wrongful Eviction (33) [-] A6023 Wrongful Eviction Case 2., 6.
3
jew
a. [_].A6018 Mortgage Foreclosure . 2.6
é Other Real Property(26) | [_].A6032 Quiet Title , 2., 6,
, [-] AGOGO Other Real: Property (not eminent domain, landlord/tenant, foreclosure) | 2., 6
5 Unlawful Pe ommercial -[-J.aco21 Untawful Detainer-Commercial (not drugs or wrongful eviction) 2., 6.
<= nee . . :
3 Uniawtul noe [CJa6020. Uniawiu! Detainer-Residential (not drugs or wrongful eviction) 2., 6.
2 Unlawful Detainer- . —_
E Post-Foreclosure (34) [[] 46020F Uniawtul Detainer-Post-Foreclosure 2.,6.
c
2 Unlawful Detainer-Drugs (38) | [-] A6022 Unlawful Detainer-Drugs 2., 6.
LAGIV 109 (Rev. 03/11) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0
: ‘Page
LASC Approved 03-04 AND STATEMENT OF LOCATION

American LegaiNet, Inc.
1
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14~ Page 21 of 54 Page ID'#:149

   

‘

 

 

SHORT TITLE: CASE NUMBER
Malone v. Handybook, Inc.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Asset Forfeiture (05) : Clasioe Asset Forfeiture Case 12,6,
= Petition re Arbitration (11) [_]A6115 ‘Petition.to Compeycenf mmiVacate Afbitration . 2., 5.
3 .
(Ja6151 writ - Administrative Maridarius. 2., 8,
2 Whit of Mandate (02) E] AG6152 Writ- Mandamus on. Limited Court case Matter 2.
3 CJ AG153. Writ - Other Limited Court Case Review: 2
Other Judicial Review (39). - | [a6150 Other Writ/Judicial Review eA 2., 8.
s AntitrustTrade Regulation (03) | [_] Aeoo3 AntitrusyTrade Regulation co 1., 2., 8.
5 Construction Defect (10) [_]A6007 Construction Defect 1., 2., 3.
3
s Claims ar Mass Tort . yO A6006 Claims Involving Mass Tort - me 1., 2, 8.
6 ome ee ee Cone . ,
2 ‘Securities Litigation (28) | []A6035 Securities Litigation Case. Ce 1.,2., 8.
3 Toxic Tor a To, e a
s Environmental (30) [_]asoss Toxic Tortnvironmental : oe , 1., 2., 3. 8.
oe -~ s
a Insurance Coverage Claims g AG014 insurance Coverage/Subrogation. (complex case only) 1.,2.,5., 8

_ from Complex Case (41) _

ore en —a_ een

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CE] A6141 Sister. State Judgment 2., 9.
#= [Ja6160 Abstract of Judgment 2., 6.
ot)
E & Enforcement Cy A6107- Confession of Judgment (non-domestic relations) 2., 9.
£ 3 of Judgment (20) O AG140 Adniinistrative Agency:-Award (not unpaid taxes) 2., 8.
2. -
aS oO A61 14 Petition/Ceitifi cate for Entry of Judgment on Unpaid Tax 2., 8.
[-] 6112 Other Enforcement of ‘of Judgment Case, 2., 8.9.
n RICO (27) in A6039 ‘Racketeering (RICO) Case 1.,2.,8
oe
3.5 ‘ :
2 2 - {-]A6030_ Declaratory Relief Only 44 2,8
= & Other Complaints C] A6040 injunctive Relief Only (not domestic/harassment) 2. 8
3 = (Not Specified Above) (42) | [~]A6011 Other Commercial Complaint Case (non-tort/non-complex) 1.,2.,8
= o [-] aso00 Other Civil Complaint (non-tort/non-complex) 4.,2., 8.
Partnership Corporation Yeas
"Governance (21) _ Class Partnership and Corporate Governance Case . 2., 8.
| J a6121. Civil Harassment a $2.,3.,9.
an . :
35 []A6123 Workplace Harassment 2.,3.,9.
s% Other Petitions [7]46124 Elder/Dependent Adult Abuse Case 2., 3., 9.
3 = (Not Specified Above) A6190 Election Contest 2.
3 2 (43) /
=o []A6110 Petition for Change of Name 2.,7.
. O A6170 Petition for Relief from Late Claim Law 2.,3.,4., 8
| ()a6100 Other Civil Petition 2.,9.
LAGIV 109 (Rev. 03/11) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0
LASC Approved 03-04 AND STATEMENT OF LOCATION 8

     
 

 
 

American LegalNet, Ine,
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 22 of54 Page ID #:150

     

 

 

SHORT TITLE: . : CASE NUMBER
Malone v. Handybook, Inc.

 

 

 

Item Ill, Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or other
circumstance indicated in Item It., Step 3 on Page 1,-as the proper reason for filing in the court location you selected.

 

“ADDRESS:
REASON: Check the appropriate boxes for the numbers shown | MUST BE FILED AT STANLEY MOSK COURTHOUSE
under Column C for the type of action that you have-selected-for | 111 North Hill Street

 

 

this case.

Bat. 2. Os. 4. Os. 06. O17. Os. Fe. C10.
cry: : — state: | ZIP CODE:
Los Angeles a |CA — ‘90012 —

 

 

 

 

 

Item IV. Declaration of Assignment: | declare under penalty of perjury under the laws of the State of California that the foregoing is true
and correct and that the above-éentitled matter is properly filed for assignment to the Stanley Mosk courthouse in the
et seq., and Local

Central . District of the Superior Court of California, County of Los Angeles [Code Civ. Proc., § 34
Rule 2.0, subds, (b), (c) and (d)}. /

(SIGNATURE OF ATTORNEYIFILING PARTY)
Stephen M. Harris

 
     

 

Dated: August 21, 2014

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
COMMENCE YOUR NEW COURT CASE:

Original Complaint or Petition.

—_

2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
3. Civil Case Cover Sheet, Judicial Council form CM-010.
4

Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
03/11).

Payment in full of the filing fee, unless fees have been waived,

an

6. Asigned order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
minor under 18 years of age will be required by Court in order to issue a summons.

7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and complaint, or other initiating pleading in the case.

 

LAGIV 109 (Rev. 09/11) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0
LASC Approved 03-04 AND STATEMENT OF LOCATION Page 4 oft

American LegalNet, Inc.
www,FormsWorkFlow.com

  
    
 

  
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 23 of 54 Page ID #:151

Co Fe 4S DN WH FF WY YN =

NO N No N No bo bdo — — — hee — — ony bm —
Nn UW B&B W NO = © DO FH I DW A FP WH LH KS SO

KNAPP,
PETERSEN
&CLARKE 28

27

 

Stephen M. Harris, Bar No. 110626

smh@kpclegal.com CONFORMED COPY
KNAPP, PETERSEN & CLARKE superar court al camera
550 North Brand Boulevard, Suite 1500 von

Glendale, California 91203-1922 AUG 21 2014
Telephone: (818) 547-5000 oe
Facsimile: (818) 547-5329 Sherri R. Carter, Executive Officar/Clerk

By Shaunya Bolden, Deputy
Robert L. Starr, Bar No. 183052
robert@starrlawmail.com
THE LAW OFFICES OF ROBERT L. STARR
23277 Ventura Boulevard
Woodland Hills, California 91364-1002
Telephone: (818) 225-9040
Facsimile: (818) 225-9042

Attorneys for Plaintiff

LULU MALONE, individually and on behalf of a class

of similarly situated individuals - BC 55536 ”
SUPERIOR COURT OF THE STATE OF CALIFORNIA

COUNTY OF LOS ANGELES, CENTRAL DISTRICT

LULU MALONE, individually and on behalf

NO.
of a class of similarly situated individuals, [CLASS ACTION]
| Plaintiff, | PLAINTIFF’S CLASS ACTION
v. COMPLAINT FOR:
HANDYBOOK, INC., and DOES 1-100, FAILURE TO PAY MINIMUM.
inclusive, | WAGES; LIQUIDATED DAMAGES;
FAILURE TO PAY OVERTIME
Defendants. - COMPENSATION: FAILURE TO
PROVIDE MEAL AND REST
PERIODS; FAILURE TO

REIMBURSE EXPENSES; WAITING
TIME PENALTIES; FAILURE TO
PROVIDE ITEMIZED WAGE
STATEMENTS; UNFAIR
COMPETITION; (CAL. BUS. &
PROF, CODE § 17200 and CAL. LAB.
CODE §§ 201, 202, 203, 204, 210, 221,
224, 226, 226.7, 226.8, 401-410, 510.
512, 1194, 1194.2, 1197, 1197.1, 1198,
and 2800-2802)

DEMAND FOR JURY TRIAL

 

-l-
PLAINTIFF'S CLASS ACTION COMPLAINT FOR:

2080655.1 08000/00997

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 24 of 54 Page ID #:152

ek wk

DW ta fF

No NY NY NY NY NY NY eH ee
AO vA & WN = S&S ©. ©

KNAPP,
PETERSEN
&CLARKE 28

27

oOo oI DH A FF WN &

—_
I

 

wee

oe fod

Comes now Plaintiff Lulu Malone (referred to herein-as “Plaintiff’), on behalf of

herself and all others similarly situated, and herein alleges:

INTRODUCTION
1. This is a class action, pursuant to Code of Civil Procedure § 382, on behalf of
Plaintiff and all individuals who work or worked as a cleaning person by Defendant

Handybook, Inc. (referred to herein as “Defendant” of “Handybook”), or any subsidiaries

or affiliated companies doing business as “Handybook,” within the state of California.

2. For at least four (4) years prior to the filing of this action and continuing to

the present, Defendant incorrectly classified Plaintiff and other Class Members as

| independent contractors. Defendant has had a consistent policy of exercising significant

| control over the cleaning persons’ behavior and opportunity for profit.

3. For at least four (4) years prior to the filing of this action and continuing to

| the present, Defendant has had a consistent policy of failing to pay Plaintiff and other Class
| Members the minimum wage, or legal overtime. The cleaning personnel are clearly entitled
| to such wages (but were not paid for such wages) since they must wear Handybook .
uniforms, must report 15 minutes early for each job, must adhere to detailed requirements

| governing how they clean a customers’ home, how they behave on the job, how they greet

customers, communicate with customers, and the steps to follow in cleaning their residence,
including how long the job is to take. Any referrals or return work is through Handybook
only, and Handybook is to be consulted about any issues the cleaning personnel cannot

answer or solve on their own. Moreover, cleaning personnel are subject to termination for

| violating Handybook rules.

4, Each Handybook cleaning person must work the first six hours of their

{employment without any compensation, and is not paid for the first 15 minutes of each job,

|.since they must report 15 minutes early at the residence and are not paid for that time.

Moreover, all Handybook cleaning personnel are required to pay for their own cleaning
supplies, and are otherwise required to bear their own business expenses. Nor are
Handybook personnel given rest or meal breaks, or furnished with itemized wage

De
PLAINTIFF'S CLASS ACTION COMPLAINT FOR:

INRNKSS 1 ARANN/NNODT

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 25 of54 Page ID #:153

—

27

KNAPP,
PETERSEN
&CLARKE 28

oOo FN HD A SF WH WH

 

oo ome C3
statements.
5. Defendant disavows an employment relationship through unconscionable
constraints and through an invalid adhesion contract.

6.  Forat least four (4) years prior to the filing of this action and continuing to

‘the present, Defendant has had a consistent policy of requiring cleaning personnel

employed within the State of California, including Plaintiff, to work at least five (5) hours

without an uninterrupted meal period of at least thirty (30) minutes and failing to pay such
employees one (1) additional hour of pay at the employees’ regular rate of compensation

for each workday that the meal period is not provided, or provided after five (5) hours, as

required by California law. Moreover, Defendant routinely refuses to furnish cleaning

personnel statutorily prescribed rest breaks of ten minutes for each four hours worked and
Defendant fails and refuses to.pay each employee one (1) additional hour of pay at the
employee’s regular rate of pay for each workday that a rest break was not provided.

7. For at least four (4) years prior to the filing of this action and continuing to

‘the present, Defendant failed to maintain accurate itemized wage statements reflecting the

Class Members’ earned wages, work periods, hours worked, and the hourly value of their
compensation.
8. For at least four (4) years prior to the filing of this action and continuing to

the present, Defendant has had a consistent policy of not reimbursing its cleaning personnel

for business expenses incurred in the course and scope of their employment.

9. Plaintiff, on behalf of herself and all Class Members, brings this action
pursuant to Labor Code §§ 201, 202, 203, 204, 210, 221, 224, 226, 226.7, 226.8, 401-410,
510, 512, 1194, 1194.2, 1197, 1197.1, 1198, and 2800-2802,-and California Code of

Regulations, Title 8, Section 11060, seeking unpaid wages, meal periods, meal period

premiums, rest periods and rest period premiums, reimbursement of expenses, wage

statement related violation relief, penalties, injunctive and other equitable relief, and
reasonable attorneys’ fees and costs. .
Hf

st - : : -3- :
PLAINTIFF'S CLASS ACTION COMPLAINT FOR:

2080655.1 08000/00997

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 26 of 54 Page ID #:154

—

NO N wR WN Nw bo N — — .— —_ — — — —_—  — _

KNAPP, 27

PETERSEN
&CLARKE 28

o Oe ND UW FF W DN

 

fos (a

10. ‘Plaintiff was, at all-times relevant herein, an employee of Defendant and
brings this action as a class action on behalf of herself and others similarly situated.

11. Plaintiff, on ‘behalf of herself: and. all Class Members, pursuant to Business &
Professions Code §§ 17200-17208 and Labor Code § 1194, and the other statutes referred
to herein, also seeks injunctive relief, restitution, and disgorgement of all benefits
Defendant enjoyed from its failure to pay proper compensation.

"VENUE

12. Venue is proper in this Court because Plaintiff and Defendant are located in

‘Los Angeles County and the acts complained of in this Complaint occurred in Los Angeles
‘County, pursuant to Code of Civil Procedure § 395 and Local Rule 2.0(b). The unlawful

| acts alleged herein have a direct effect on Plaintiff and those similarly situated.

PARTIES
13.  Plaintiffis a | resident of. the State of California.
14. As cleaning persons, Plaintiff and the Class were regularly required to:
(1) Work without receiving compensation for all hours worked at the
proper rate and/or without receiving a minimum wage, or legal overtime compensation,
(2) Work in excess of five (5) hours per day without being provided a
meal period of at least thirty G0) minutes, and work without being compensated one (1)
additional hour of pay at the employee” 's regular rate of compensation for each workday that

a meal period was not provided or provided after five (5) hours, all in violation of

| California labor laws, regulations, and Industrial Welfare Commission (“IWC”) Wage
Orders:

(3) Work more than four (4) hours each day without being provided a

| statutorily prescribed rest break and work without being compensated one (1) additional

hour of pay at the employee’s regular rate of compensation for each workday that a rest

period was not provided, in violation of California labor laws, regulations, and Industrial

Welfare Commission (“IWC”) Wage Orders;
(4) Work without being provided an accurate itemized wage statement

-4.
PLAINTIFF'S CLASS ACTION COMPLAINT FOR:

2080655.1 08000/00997

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 27 of 54 Page ID #:155

0 OC DA HW BR WN

Anak wWNH F&F FOC HAA A BF WN

KNAPP, 27

PETERSEN
&GLARKE 28

—
—_—)

 

reflecting all deductions from payment of wages and accurately reporting total hours
worked by Plaintiff and the Class Members, their rates of pay, or the compensation paid to
them;

(5) Work without being reimbursed for expenses that were incurred on

Defendant’s behalf as a necessary condition of employment.

15. Defendant willfully failed to pay all wages owed at the time of termination or
resignation of Plaintiff and other Class Members’ employment with Defendant.

16. Defendant Handybook, Inc. is a corporation incorporated in the State of
Delaware with its principal place of business in the State of Massachusetts. Handybook is .
doing business in the State of California. -

_ 17. Plaintiff and the Class Members are and at all relevant times were employed |
by Defendant as cleaning personnel in connection with Defendant’s business operations.

18. The true names and capacities of defendants sued as DOES 1 through 100,
inclusive, are unknown to Plaintiff at this time. Plaintiff will amend the Complaint when the
true names, identities, and/or capacities of said defendants become known to Plaintiff.

19. Plaintiff alleges that at all times mentioned herein, Defendant Handybook and

‘the DOE defendants, DOES 1 through 100, inclusive, were the agents, employees, co-

owners, or co-venturers of each of their co-defendants, or are otherwise legally responsible
for the acts alleged herein, and in doing the things alleged in-this Complaint, were acting
within the course and scope of that agency and employment, or other capacity, including,
without limitation, as an employer of Plaintiff and the Class Members.
FACTUAL BACKGROUND
20. Defendant hires class members to work as cleaning personnel under its

direction and control, in the State of California. Plaintiff and the Class were erroneously

|| classified as “independent contractors” despite their clear employee status. The cleaning

personnel must wear Handybook uniforms, must report 15 minutes early for each job, must
adhere to detailed requirements governing how they clean a customers’ home, how they
behave on the job, how they greet customers, communicate with customers, and the steps to

-5-
PLAINTIFF'S CLASS ACTION COMPLAINT FOR:

20R0655.1 08000/00997

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 28 of 54 Page ID #:156

oO Se SYN DN A FR WD NN

DA A RF BN F&F SO OW IA KH FF WBN HK OS

KNAPP, 27

PETERSEN
&CLARKE 28

~—

 

follow in cleaning their residence, including how long the job is to take. Any referrals or
return work is through Handybook only, and Handybook is to be consulted about any issues
the cleaning personnel cannot answer or solve on their own. Moreover, cleaning personnel
are subject to termination for violating Handybook rules. Each Handybook cleaning person
must work the first six hours of their employment without any compensation, and is not
paid for the first 15 minutes of each job, since they must report 15 minutes early at the
residence and are not paid for that time. Moreover, all Handybook cleaning personnel are
required to pay for their own cleaning supplies, and are otherwise required to bear their own
business expenses. Nor are Handybook personnel given rest or meal breaks, or furnished
with itemized wage statements.

21. ° As stated above, Plaintiff and the Class were given no employee benefits and

were not reimbursed for their employment-related expenses. Further, Plaintiff and other

Class Members are no longer working for Defendant, and at the time of their termination or

within seventy-two (72) hours of their resignation were not paid all wages owed, and were
not paid said wages for thirty (30) days thereafter, thus entitling them to penalties under
Labor Code § 203.

22. Plaintiff and the Class Members are and at all times pertinent hereto have
been non-exempt employees within the meaning of the California Labor Code and the
implementing rules and regulations of the [WC Wage Orders, in that Defendant directly or
indirectly employed or exercised control over the wages, hours, and working conditions of
Plaintiff and the Class Members.

23.  Atall times relevant hereto, and at some time during the period from four (4)

years prior to the filing of this action and continuing to the present, Defendant has

employed the cleaning personnel, including Plaintiff, pursuant to a sham “independent
contractor” arrangement, which is an unenforceable adhesion contract. Pursuant to the sham
independent contractor agreement, Defendants, and each of them, fail to pay all wages due
to the cleaning personnel, nor did they or do they provide to the cleaning personnel any of
the other fundamental entitlements guaranteed by the law to all California employees,

-6-
PLAINTIFF'S CLASS ACTION COMPLAINT FOR:

DARNASS 1 ARNNN/NNGYT

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 29 of 54 Page ID #:157

Oo Oo NI DH A BP W NO

NY N NO N NO NY HN we ee le
nN N > WwW No ese CO O FF NH HD MN ke WH NY FF &

KNAPP, 27

PETERSEN
&CLARKE 28

 

we

(One Se

¥

including, but not limited to, state unemployment and disability insurance, worker’s

compensation insurance, and/or payment of employee payroll taxes to secure the class

‘members future eligibility for social security benefits.

24. Plaintiff and the Class Members were regularly required to work in excess of
five (5) hours per day without being provided a thirty (30) minute meal period, and were
routinely required to work in excess of four (4) hours in each day without being provided
statutorily prescribed rest breaks.

25. Defendant did not fully compensate Plaintiff and the Class for Defendants’
failure to provide meal and rest periods during the liability period.

26. Defendants’ requirement that Plaintiff and the Class work through meal and

rest periods without paying legal compensation for their failure to provide meal and rest

| periods during the liability period was willful and deliberate.

27. Defendants willfully failed to pay one (1) hour of wages at the employee’s

regular rate of compensation for each meal or.rest period Defendants failed to provide.

28. Defendants have failed to comply with IWC Wage Order 4-2001(7) and/or 2-
2001 (7) and Labor Code Section 226 by failing to maintain time records showing when the
employee begins and ends each work period, meal periods, and total daily hours worked by
itemizing in wage statements all deductions from payment of wages and accurately

reporting total hours worked and total compensation earned as well as the rate of pay by

Plaintiff and the members of the Class.

29. Defendants required Handybook cleaning personnel to wear a company

uniform, and buy their own cleaning equipment, as a condition of employment, but

‘Defendants failed to appropriately reimburse Plaintiff and the Class for these employment-

related expenses (and other employment related expenses) as required by Labor Code
§ 2802. _ a
30. Plaintiff and the Class are covered by California Industrial Welfare
Commission Occupational Wage Order No. 2-2001, or 4-2001.

Mf

T+
PLAINTIFEF’S CLASS ACTION COMPLAINT FOR:

JNRNESS 1 NRANNAINNGOT

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 30 0f54 Page ID #:158

pret

puch ek
a)

NO NO NH NY NO NHN Nw we Re
Nn nA F&F Ww NHN —§ FCO Se nN KD HT SF W

27

KNAPP,
PETERSEN
&CLARKE 28

0 oN A A & WN

re

' 1

CLASS ACTION ALLEGATIONS
31. Plaintiff brings this action on her own behalf, and on behalf of the class of all
persons similarly situated. | . |

32. Plaintiff seeks to represent a class defined as follows: All persons who are

| employed or have been employed by Defendants within the State of California as cleaning

personnel for Defendants’ customers from four years prior to the filing of this action up to
and including the entry of an appropriate class certification order.

33. This action is maintainable by Plaintiff as a class action under § 382 of the
Code of Civil Procedure because the questions of law and fact common to the Class
Members predominate over any questions affecting individual members and, on balance, a

class action is superior to other methods available for adjudicating the controversy, There

{is as well-defined community of interest in the litigation and the Class is easily

ascertainable.

a. Numerosity: The potential members of the Class as defined are so numerous -
that the individual joinder of all members is impractical under the circumstances of this
case. Although the exact number of Class Members is unknown to Plaintiff at this time,
Plaintiff is informed and believes and thereon alleges that during the relevant time period
Defendant employed over 250 Handybook “maids” within the State of California. Plaintiff
alleges that Defendant’s employment records would provide information as to the precise
number and location of all Class Members. Joinder of all members of the Class is not
practicable.

b. Commonality: The common questions are such that proof of a statement of
facts common to the members of the Class will entitle each member of the Class to the
relief requested in this Complaint. There are questions of law and fact presented herein
which are common to the entire.Class of persons represented by Plaintiff, and which
predominate over any individual issues, including, but not limited to:

(i) | Whether Defendants failed to pay wages (including minimum wage and
overtime compensation) for all hours worked at the proper rate, and when such payments

8.
PLAINTIFF'S CLASS ACTION COMPLAINT FOR:

 

2080655.1 08000/00997

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 31.of 54 Page ID #:159

bod

KNAPP, 27

PETERSEN
&CLARKE 28

1s 1197.1;

0 eI KD A B&B WO bw

 

. Poo. : ao
§ a fete i+ ‘

wee

| were due, as required by the Labor Code and Wage Orders;

Gi) Whether Defendants failed to pay minimum wages as required by Labor Code,

 

Gil). | Whether Defendants failed to provide meal and rest + periods t to Class
Members in violation of California law, and whether Defendants unlawfully failed to pay
Class Members one (1) hour of wages for each meal and rest period not provided;

| (iv) Whether Defendants unlawfully failed to provide Class Members with
accurate itemized wage statements;
(v) Whether Defendants failed to properly reimburse expenses incurred on the
Defendants’ behalf;
wi) Whether Defendants violated §§ 201-203 of the Labor Code by failing to pay

compensation. due and owing at the time that any Class Member’s employment with

Defendants. terminated;

(ii) Whether Defendants violated Labor Code §§ 221-224, and 400-410 by

| requiring ‘that Plaintif?’s and the Class Members’ work the initial six hours of their

employment for free in order to reimburse Defendants for the equipment which Class
Members used in connection with their employment;

(viii) Whether Defendants violated § 17200 et seq. of the Business & Professions
Code by engaging in the acts previously alleged;

~ (ix) Whether Plaintiff and the members of the Class are entitled to equitable relief

pursuant to Business & Professions Code § 17200, et seq.;

(x) Whether Defendant willfully classified the cleaning personnel as independent
contractors;

C. Typicality: Plaintiff's claims are typical of the claims of the Class Members.

‘| Plaintiff and the members of the Class sustained damages arising out of Defendants’

common practices set forth above. Plaintiff and the Class Members performed the same
duties and had the same responsibilities.
d. Adequacy: Plaintiff is qualified to, and will, fairly and adequately protect the

-9-
PLAINTIFF'S CLASS ACTION COMPLAINT FOR:

ANRNESS 1 NRNNA/NNGIT

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 32 0f54 Page ID #:160

—

OA wma BB |} BH —& CO DO BAAN A UN fF W NY FF O&O

27

KNAPP,
PETERSEN
& CLARKE 28

: other Class Members. Counsel |

litigating v wage and hour ar employment

0 Oo IY DH WH >A wo

 

interest of each Class Member. Plaintiff has no interest that is adverse to the interests of the

  
 

 

iff are competent and experienced i in

e. Superiority: Class action adjudication i is superior to the other available
methods because a class action will achieve economics of time, effort and expense as
compared to separate lawsuits, and will avoid inconsistent outcomes because the same
issues can be adjudicated in the same manner for the entire Class.

FIRST CAUSE OF ACTION
FAILURE TO PAY MINIMUM WAGES

34. Plaintiff hereby incorporates the preceding paragraphs of this Complaint and
re-alleges said allegations as though fully set forth herein. |

35. Plaintiff and the Class Members were never paid minimum wages for all
hours worked pursuant to Labor Code §§ 1197 and 1197.1. Moreover, Defendants violated
the provisions of Labor Code Sections 221-224 by deducting expenses from employee
compensation which were incurred by the employees in connection with their employment
duties, thereby reducing: compensation below minimum wage.

36. As aresult of the unlawful acts of Defendants, Plaintiff and the Class have
been deprived of wages in amounts to be determined at trial, and are entitled to recovery of

such amounts, plus interest and penalties thereon, attorneys’ fees, and costs, pursuant to

| Labor Code § 1194.

SECOND CAUSE OF ACTION
LIQUIDATED DAMAGES PURSUANT TO LABOR CODE § 1194.2

37. Plaintiff hereby incorporates the preceding paragraphs of this Complaint and
re-alleges said allegations as though fully set forth herein.

38. During the course of their employment with Defendant, Plaintiff and the
Class were not at all times paid the minimum wage, in that Plaintiff and the class were not
compensated at all for the initial six hours that they worked for Defendants, were not paid
while they travelled from job to job, and were not paid for the initial 15 minutes of each job

-10-
PLAINTIFF'S CLASS ACTION COMPLAINT FOR:

2080655.1 08000/00997

 
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 33 of 54 Page ID #:161

—

NY wo NH WH NY NN HN KH HF KF Se HF He ES EE PB LS
A ab OND — OC eI DAA BF WN SE SS

27

KNAPP,
PETERSEN
&CLARKE 28

0 Oe IYI DH BR W WL

 

Co (22 , Ce

since they were required to show up 15 minutes early and were not paid for this time.
Pursuant to Labor Code § 1. 194.2, Plaintiff and the Class are entitled: to a penalty equal to
the amount paid less than minimum wage.
THIRD CAUSE OF ACTION
FAILURE TO PAY OVERTIME COMPENSATION

39. Plaintiff incorporates by reference and re-alleges as if fully stated herein the
preceding allegations of the complaint.

40. California Labor Code section 1198 and the applicable Industrial Welfare

Commission (“IWC”) Wage Order provide that it is unlawful to employ persons without

compensating them at a rate of pay either time-and-one-half or two-times that person’s
| regular rate of pay, depending on the number of hours worked by the person on a daily or

|-weekly basis.

41. Specifically, the applicable IWC Wage Order provides that Defendants are

and were.required to pay Plaintiff and class members employed by Defendants, and

working more than eight (8) hours in a day or more than forty (40) hours ina workweek, at

the rate of time-and-one-half for all hours worked in excess of eight (8) hours in a day or

more than forty (40) hours in a workweek.

42. The applicable [WC Wage Order further provides that Defendants are and
were required to pay Plaintiff and class members employed by Defendants, and working
more than twelve (12) hours in a day, overtime compensation at a rate of two times their
regular rate of pay. |

43. California Labor Code section 510 codifies the right to overtime
compensation at one-and-one-half times the regular hourly rate for hours worked in excess
of eight (8) hours in a day or forty (40) hours in a week or for the first eight (8) hours
worked on the seventh day of work, and to overtime compensation at twice the regular
hourly rate for hours worked in excess of twelve (12) hours in a day. or in excess of eight
(8) hours in a day on the seventh day of work.

44. During the relevant time period, Plaintiff and the class worked in excess of

-l1-
PLAINTIFF'S CLASS ACTION COMPLAINT FOR:

2080655.1 08000/00997

 
Case 2:14-cv-08906-ODW-SH . Document 11-1. Filed 11/24/14: Page 34 of 54 Page ID #:162

—_—

Noe 2

oF See NS

27 |

KNAPP,
PETERSEN
& CLARKE. 28

(40) hours in a week.
overtime wages owed to Plaintiff and class members.

‘balance of overtime compensation, as requited by California laws, violates the provisions of

California Labor Code sections 510 and 1198, and is therefore unlawful.

Oo O82 DN nA PB W Ww

recover his or her unpaid overtime compensation, as well as interest, costs, and attorneys’

me,

Te- calleges said allegations as though fully set forth herein.

the Class Members to work for more than five (5) hours without providing them ae meal -

 

eight (8) hours in a day, in excess of twelve (12) hours in a day, and/or in excess of forty

_ 45. During the relevant time period, Defendants willfully failed to pay all

46. - Defendants’ failure to pay Plaintiff and other class members the unpaid
47, Pursuant to California Labor Code section 1194, Plaintiff is entitled to

a _ FOURTH CAUSE OF ACTION
ae _ FAILURE TO PROVIDE MEAL PERIODS |
a 48, - "Plaintiff hereby incorporates the preceding paragraphs of this Complaint and

49. | During all. times relevant herein, Defendants unlawfully required Plaintiff and.

petiod of at least thirty (30) minutes, in violation of Labor Code §§ 226.7 and 512.

50. Therefore, Plaintiff prays for the relief provided by Labor Code § 226.7 in the
amount equal to an additional one (1) hour of pay at the employee’s regular rate of
compensation for each day that a meal period was not provided.

‘51. Plaintiff is also entitled to costs and attorneys’ fees pursuant to California
Labor Code sections 226.7 and 512(a), and any other applicable statute or law.
FIFTH CAUSE OF ACTION -
- FAILURE TO PROVIDE REST PERIODS
52. Plaintiff incorporates by reference and re-alleges.as if fully stated herein the
preceding allegations of the complaint.

53.  Atall relevant times herein, the applicable IWC Wage Order and California

‘Labor Code section 226.7 were applicable to Plaintiff's employment by Defendants.

-12- |
PLAINTIFF'S CLASS ACTION COMPLAINT FOR:

 

2080655.1 08000/00997
-Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 35 o0f54 Page ID #:163

oO fF SNA DH OA Ff W NO

KNAPP, 27

PETERSEN
&CLARKE 28

 

54. Atall relevant times, California Labor Code section 226.7 provides that no
employer shall require an employee to work during any rest period mandated by an
applicable order of the California IWC.

55.  Atall relevant times, the applicable IWC Wage Order provides that “[e]very
employer shall authorize and permit all employees to take rest periods, which insofar as
practicable shall be in the middle of each work period” and that the “rest period time shall
be based on the total hours worked daily at the rate of ten (10) minutes net rest time per
four (4) hours or major fraction thereof” unless the total daily. work time is less than. three.
and one-half (34) hours.

56. During the relevant time périod, Defendants required Plaintiff and the class to
work four (4) or more hours without authorizing or permitting a ten (10) minute rest period
per each four (4) hour period worked.

57. During the relevant time period, Defendants willfully required Plaintiff and
the class to work during rest periods.

58. During the relevant time period, Defendants failed to pay Plaintiff and the
class the full rest period premium due pursuant to California Labor Code section 226.7.

59. Defendants’ conduct violates the applicable IWC Wage Orders and California
Labor Code section 226.7. .

_ 60.. Pursuant to the applicable IWC Wage Order and California Labor Code

1 section 226.7(b), Plaintiff and each class member is entitled to recover from Defendants

| one additional hour of pay at his or her regular hourly rate of compensation for each work

day that any rest period was not provided.
61. Plaintiff is also entitled to costs and attorneys’ fees pursuant to California
Labor Code sections 226.7 and 512(a), and any other applicable statute or law.
SIXTH CAUSE OF ACTION
FAILURE TO REIMBURSE EXPENSES
62. Plaintiff hereby incorporates the preceding paragraphs of this Complaint and
re-alleges said allegations as though fully set forth herein.

-13-
PLAINTIFF'S CLASS ACTION COMPLAINT FOR:

2080655.1 -08000/00997 -

 
~ Case 2:14-cv-08906-ODW-SH Document 11-1 “Filed 11/24/14 Page 36 0f 54 Page ID #:164

Co eo NH HD A HP WH YN —

bo nN bo nN N rN nN —_ _ —_ — — _ — — — —
D ra BB WO NYO —|—§ OO OO ON BD UH F&F W NY YY &

KNAPP, 27
PETERSEN
& CLARKE 28

 

on , a7
f. ae fi. os

1 . rua

63. Labor Code §§ 2800-2802 require employers to indemnify employees for all
necessary expenditures incurred by the employee in the discharge of his or her duties. .
Moreover, Labor Code Sections 400-410 prohibit an employer from imposing a bond on an
employee. .

64.  Atall relevant times herein, Defendants required Plaintiff and the Class to
purchase and maintain uniforms and otherwise pay for other business expenses such as
supplies, equipment and expenses incurred in connection with travelling from job to job.
Defendants required Plaintiff and the Class to bear the burden of purchasing these
employment related expenses,

65. Asaresult, Defendants are liable to Plaintiff and the Class for the amounts
expended in purchasing the uniforms and accessories, plus interest, penalties, and attorney’s
fees and costs, pursuant to Labor Code §§ 400-410, and 2800-2802.

SEVENTH CAUSE OF ACTION
WAITING TIME PENALTIES

66. Plaintiff hereby incorporates the preceding paragraphs of this Complaint and
re-alleges said allegations as though fully set forth herein.

67. California Labor Code § 203 states, in pertinent part:

If an employer willfully fails to pay, without abatement or
reduction, in accordance with Sections 201, 201.5, 202 and 205.5,
any wages of an employee who is discharged or who quits, the
wages of the employee shall continue as a penalty from the due
date thereof at the same rate until paid or until an action therefor is
commenced; but the wages shall not continue for more than 30
days.

68. Numerous members of the Class, including Plaintiff, are no longer employed
by Defendants. They were either fired or quit Defendant’s employ.

69. Defendants’ failure to pay wages, as alleged above, was willful in that
Defendant knew wages to be due but failed to pay: them, thus entitling Plaintiff and the
Class to penalties under Labor Code § 203, which provides that an employee’s wages shall
continue as a penalty until paid for a period of up to thirty (30) days from the time they

-14-
PLAINTIFF'S CLASS ACTION COMPLAINT FOR:

2080655.1 08000/00997

 
' Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 37 of 54 Page ID #:165

o Se YD DO OH FP W NO

bo bo ro Bp bw rw rw —_ — —_ oy a ost — — bos —
a WG > W NO — Oo \o oo ~ aN w— Ba w bo — oS

KNAPP, 27
PETERSEN

&CLARKE 28

 

were due.

70. Defendants have failed to pay Plaintiff and other Class Members a sum
certain at the time of termination or within seventy-two (72) hours of their resignation, and
have failed to pay those sums for thirty (30) days thereafter. Pursuant to the provisions of
Labor Code § 203, Plaintiff and the members of the Class are entitled to a penalty in the
amount of Plaintiff's and other’s daily wage multiplied by thirty (30) days.

EIGHTH CAUSE OF ACTION
FAILURE TO PROVIDE ITEMIZED WAGE STATEMENTS

71. Plaintiff hereby incorporates the preceding paragraphs of this Complaint and
re-alleges said allegations as though fully set forth herein.

72. California Labor Code § 226(a)(2) states, in pertinent part:

Every employer shall, semimonthly or at the time of each
payment of wages, furnish each of his or her employees, either as a
- detachable part of the check, draft, or voucher paying the
employee’s wages, or separately when wages are paid by personal
check or cash, an accurate itemized statement in writing showing
(1) gross wages earned, (2) total hours worked by the employee, —
except for any employee whose compensation is solely based on a
salary and who is exempt from payment of overtime under
subdivision (a) of Section 515 or any applicable order of the ~
Industrial Welfare Commission.
73. Atall relevant times herein, Defendants violated Labor Code § 226(a) (2) by
not providing accurate itemized statement(s) to Plaintiff and the Class Members.
. 74. Plaintiff prays for the greater of actual damages or the civil penalty of fifty
dollars ($50) for each aggrieved employee within the Class per pay period for the initial
violation and one hundred dollars ($100) for each aggrieved employee within the Class per
pay period for each subsequent violation as provided for in Labor Code § 226, as well as
attorneys’ fees, costs, and appropriate injunctive relief.
Hl
If

Hf

-15-
PLAINTIFF'S CLASS ACTION COMPLAINT FOR:

2080655.1 08000/00997

 
Case 2:14-cv-08906-ODW-SH - Document 11-1 -Filed-11/24/14. Page 38 of 54 Page ID #:166

o Ce NI DH On SFP WW YP

Oo WO NO HO NY NY NO KF | = a re —=— —=
N sn > Ww NO - Oo 0 Oo ~ On ~ se WwW tO — Oo

KNAPP, 27

PETERSEN
&CLARKE 28

false and fraudulent and designed to prevent Plaintiff and the Class Members from pursuing
‘their legal remedies, and have resulted in Plaintiff and the Class Members being required to

|pay self-employment .tax on monies earned due, to their independent ¢ contractor status.

| persons, demands judgment against Defendants, and each of them, as hereinafter set forth:

 

et

t ' ae t

NINTH CAUSE OF ACTION
UNFAIR COMPETITION
75.  Plaintiffhereby incorporates the preceding paragraphs of this = Complaint and ~

re-alleges said allegations as though fully set forth herein.

76.  Atall times relevant herein, Defendants violated the above-cited provisions of
the California Labor Code and the applicable IWC Wage Orders.

77. Inaddition, Defendants have repeatedly misrepresented to the members of the
Class that they were exempt from coverage of the above-cited IWC Wage Orders and/or
California laws regarding, e.g., minimum wage, overtime, meal and rest periods,
reimbursement of expenses, and other incidents of employment which defendants

misrepresented that Plaintiff and the class were not entitled to. These representations were

78. Defendants” conduct, as alleged i in this Complaint, constitutes an unlawful,
unfair and fraudulent business act or practice in violation of the provisions of Business &
Professions Code § 17200, et seq.

79. Therefore, Plaintiff demands restitution of all sums due and owing to her and
the Class. Plaintiff also demands injunctive relief to prevent the continuing violations of |
the wage and hour violations identified in this Complaint.

. | RELIEF REQUESTED
WHEREFORE, Plaintiff, individually and on behalf ofa Class of similarly situated

1. For an order certifying this action as a class action and appointing Plaintiff's
counsel as Counsel for the Class;

2. For payment of all minimum wages, and overtime compensation, on behalf of
all employees who worked for Defendants, and for penalties pursuant to Labor Code §
1194.2;

-16-
PLAINTIFF'S CLASS ACTION COMPLAINT FOR:

 

2080655.1 08000/00997
Case 2:14-cv-08906*OQDW-SH Document 11*1. Filed.11/24/14 Page-39 of 54 Page ID #:167~-

ped

WON oe OS

tN two bo nN N NO bo ome —y — _— —

KNAPP, 27

PETERSEN

&CLARKE 28.

Oo oe ND WA BR WN

_
&

 

at . ao

:

3. For the reimbursement of employment-related expenses pursuant to Labor
Code. §§ 400-410, and 2800-2802, in an amount to be proven at trial;

4. For penalties pursuant to Labor Code § 203 for Plaintiff and all Class
Members who quit or were terminated equal to their daily wage multiplied by thirty (30)
days; |

5. For restitution of all wages or other sums owed to Plaintiff and the Class and
for any sums unlawfully deducted from compensation otherwise payable to Plaintiff and the
Class Members in violation of Labor Code §§ 210, 221-224, and Labor Code §§ 2800-2802
and 400-410;

6. An order enjoining Defendants and their agents, servants, and employees, and

: all persons acting ‘under or in concert with them, from failing to provide Plaintiff and the
Class. with proper minimum wages, ‘meal petiods and rest periods in violation of Labor

Code §§ 226.7, 512, and 1194, and IWC Wage Order 4-2001;

7. For all relief provided for by Labor Code Section 226.7 based on failure to

5 | furnish meal and rest periods;

8. For all relief provided for by Labor Code Section 226 for failure to furnish

| accurate itemized wage statements, including damages, or penalties, injunctive relief,

attorneys’ fees and costs;
9, For pre-judgment interest at the rate of ten percent per annum;

10. For reasonable attorneys’ fees and costs pursuant to Labor Code §§ 218.5,

226, 226.7, 512, 1194, and 2800-2802, California Code of Civil Procedure § 1021.5, or

| pursuant to the Common Fund Theory of Recovery;

11. Forcosts of this suit; and .
12. For any other and further relief the court deems just and proper.
Hl |
Mf
Ml
Hl

-17-
PLAINTIFF'S CLASS ACTION COMPLAINT FOR:

2080655.1 08000/00997

 
Case 2:14-cv-08906-ODW-SH -Document 11-1. Filed 11/24/14 Page 40 of 54 Page ID #:168

Oo Se nN HD AH FB W NY

. pont —
— = OS

KNAPP,
PETERSEN
&CLARKE 28

 

 

b> (oe
DEMAND FOR JURY TRIAL
Plaintiff hereby demands trial of her claims by jury to the extent authorized by law.
Dated: August 21,2014 KNAPP, PETERSEN & GLARKE

  
   

 

Attorneys for Plaintiff .

LULU MALONE, individually and on
behalf of a class of similarly situated
individuals

 

~18-
PLAINTIFF'S CLASS ACTION COMPLAINT FOR:

2080655.1 08000/00997

 
‘Case 2:14:cv-08906-ODW-SH- Document 11-1 Filed 11/24M4 Page 41 of 54 Page ID #:169

 

NO1.-: OF CASE ASSIGNMENT - CLASS AU. 20 CASES
Case Number

 

 

 

 

 

 

; : MPLAINT
Your case is assigned: for. all purposes to 0 the ‘judicial officer indicated. below (Local Rule.3.3(c)).
‘ASSIGNED JUDGE DEPT ROOM
Judge Elihu M: Berle 323 1707
: Judge William F. ‘Highberger 322 1702
. _
ft . .. :
Judge John Shepard Wiley, In Gul ne &

 

 

_ | Cs
“Judge Kenneth Freéinan _f.. 310 1412 oS °
op

 

‘Judge Jane Johnson , "308 1415
Tudge Amy D. Hogue . 307 1402

 

 

 

 

 

 

OTHER

 

 

fea Instructions for handling Class Action Civil Cases
The following critical provisions of the Chapter Three Rules, as applicable in the Central District, are summarized for your assistance.

APPLICATION
The Chapter Three Rules were effective J anuary 1, 1994, They apply’ to all general civil cases.

 

PRIORITY. OVER OTHER RULES
The Chapter Three Rules: shall have priority over all other Iocal Rules ‘to the extent the others are inconsistent.

 

CHALLENGE TO. ASSIGNED JUDGE
A challenge under Code of Civil Procedure section 170.6 must be made within 15 days after notice of assignment for all purposes to a
judge, or if aparty has-not yet appeared, within 15 days of the first appearance,

 

TIME. STANDARDS
Cases: assigned to the Individual Calendaring Court will be subject to processing under the following time standards:

COMPLAINTS: All complaints shall be served within 60. days of filing and proof of service shall be filed within 90 days of filing.

CROSS-COMPLAINTS: Without leave of court first being obtained, no. cross-complaint may be filed by any party after their answer is
filed. Cross-complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

A Status Conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the complaint. |
Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, | bifurcation, settlement, trial date, and expert
witnesses.

FINAL STATUS.CONFERENCE

The ‘Court will require the parties at a-status conference not more than 10 days: before the trial to have timely filed and served all motions
in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested jury instructions, and special jury
instructions:and:special jury verdicts. These matters may be heard and resolved at this conference. At least 5-days before this conference,

counsel must. also have exchanged | lists. of exhibits and witnesses ant have submitted to the court'a brief‘statement of the case.to be read to

 

SAN CTION: Ss.
The court will impose appropriate sarictions for the failure or refusal to comply with Chapter Three Rules, orders made by the Court, and
_ time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be.on a patty or if appropriate on
: counsel for the party.

This is not a completé delineation of the Chapter Three Rules, and: adherence only to the above provisions is therefgre not a guarantee against the imposition of
sanctions under Triat Court Delay Reduction. Careful reading and compliance with the actual Chapter Rules is sag moat

Given to: the Plintif Cross-ComplainmiAttomey ofRecordon. SHERRI R. cnr igeiv Officer/Clerk
: a
LACIV. CCW 190 (Rev09/13) G23 Ton a
LASC Approved 05-06 q
For Optical Use

%
Os,
By _ Oy. , Deputy Clerk

 
Case 2:1%-cv-08906-ODW-SH Document 11-1° Filed 11/24/14 Page 42 of 54 Page ID #:170

‘ oa Pew oy , ' + OB Me

"VOLUNTARY EFFICIENT LITIGATION STIPULATIONS _

 

The Early Organizational Meeting Stipulation, Discovery
Resolution ‘Stipulation, and Motions i in Limine Stipulation are

. voluntary stipulations entered into ‘by the parties. The. parties |
may enter into. one, two, or all three of the. stipulations;
| however, they may not alter ihe stipulations as written, .
. because ‘the Court wants to ensure: uniformity of application.
| These > miadcns are Meant fo Sneourage cooperation

 

 
 
  
 
  

| m manner x that promotes ¢ economic case resluton ‘anid judicial
| efficiency.

 

. a” ey . .
dH jee sian
OU. susehe The following amenizetions éndarse the goal of -
Censutit atioronye'

- Asbotlation of os Angelos promoting efficiency - in li itigation ‘and ask that counsel °
ae _| consider using. these stipulations ‘as @ voluntary way to

|| promote communications and procedures ‘among. counsel —

. | and with the court to fairly resolve issues in theircases. =

 

#108 Angeles County Bar Association Litigation Section?

_ @ Los Angeles County Bar Association |
Labor and Employment Law Section®

 

Consumer Attorneys Association of Los Angeles @
-@Southern Callfornia Defense Counsel@

#Association of Business Trial Lawyers@

 

 

@Callfornia Employment Lawyers Association®
Case 2:14-cv-08906-ODW-SH - Document-11-1-.Filed 11/24/14 Page 43 of 54 Page ID #:171 -

wots

 

 

 

  

 

 

 

 

 

 

RANE AND ADDRESS OF ATTORNEY OR PARTY WIRGUT ATTORIEN: — se aeNER " Ramanyed foe Cte Fie Starmy
. TELEPHONE NO.: FAXNO. (Optra
E-MAIL ADDRESS (Optional:
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES.
COURTHOUSE ADDRESS:
e NT F:
’ [ OEFENDANT:
STIPULATION - EARLY ORGANIZATIONAL MEETING - LO m

 

 

 

this stipulation is intended to encourage cooperation among. the parties ; at an neatly stage in
the litigation. and to assist the partite th efficient case: resohution,

The parties agree t that:

1. The parties. commit to conduct. an initia): conference (in-person or via teleconference: or via

videoconference) within 15 days from the date this. stipulation Is signed, to discuss and cansiier
whather there can be agreement on the following: ,

a. Are motions to challenge the ‘pleadings necessary? if the issue can be resolved by —
amendment as of fight, orf the Court would allow leave to amend, could an amended
‘complaint resolve. most or ‘all of the Issues a demurrer might otherwise. raise? If so, the parties

". agree to work through pleading -isst
resolve. Is tha Issue that the defend: seeks to ralse:aménable to: resolution on demurrer, or
would: sonie other type of ‘motion ‘be. preferable?” ‘Could a. voluntary targeted exchange of
documents or Information by any party: cure an uncertainty inthe pleadings?

 
 
  

. initial mutual exchanges of documents at the “core” of the fitigation. (For example, in an
employment case, the employment records, personnel file and documents relating to the
conduct In question could be considered “core.” Ina personal injury case, an incident or

police report, medical records, and repair or maintenance records could be considered
“core. "}

c. Exchange of names and contact Information of witnesses; ;

®

Any insurance agreement that may be. avallable to satisfy. ‘part or all bof a judgment, or to
‘Indemnily or reimburse for payments made to satisfy.a judgment;

8. Exchange of any other information that might | be helpful to facilitate understanding, handling,
or resolution of the case ia a manner that preserves. objections or privileges by agreement;

Controlling issues of taw that, if resolved early, will promote efficiency and economy In other
‘phases of the case. Also, when and how such Issues can be presented ‘to the Court;

ss

  
  

. Whether or when the case should be scheduled wit a soltoment officer, what discovery or
co ( BS | l sment discussions meaningful,
in fing judge ora: private. mediator: or other Options as

Cava STIPULATION - EARLY ORGANIZATIONAL MEETING

 

"Page 4 of2
Case 2:14-cv-08906-ODW-SH “Document 11-1 Filed 11/24/14 Page 44 of 54 Page ID #:172

*

an

 

 

 

 

 

discussed In the *Allemetive Dip Resolution (ADR) Information Package" served with: the
complaint; . .

AY Computation of damages, ineluding documents 5 not privileged or protected from disclosure, on
which such. computation ls based;

4. Whether the case Is suitable: for the. Expadited Jury Trial procedures (see Information at
a é I cou for }under “Civil and then under "General Information”).

 

The time for a a defending party to respond to a complaint or cross-complaint will be extended
nn) _for the com plant, and. for the cross-
: “UNGERT DATE) ‘ “GNSERT BATE)
complaint, which is comprised of the 30. days to. respond under Government Code § 68616(b),
‘andthe 30 days permitted by Code of Civil Procadure section 1054(a), good cause having

been found: by the Civil Supervising Judge due to the case managomént bs benefi ts. provided by
this Stipulation.

3. The partles. will prepare a. Joint report titled “Joint Status Report Pursuant to Initlal Conference
and Early: Organizational Meeting Stipulation, and If desired, a. proposed order summarizing
iets ot thelr meat and confer and: aie tie Court of any way it may assist the 2 barlles

 

pease due.

   

 

 

4. References to “days” mean calendar days, unless otherwise noted, If the date for performing
Any act pursuant fo this stipulation falls ‘on a Saturday, Sunday or ‘Court holiday, then the time.
for performing that act shail be extended to the next Court day

Ths following parties stipulate:

Date:

- , > ,

———{F¥PE OR PRINT NAME) | {ATTORNEY FOR PLAINTIFF)

. ee _- > oe

~” (TYPE-‘OR PRINT NAME) _ "(ATTORNEY FOR DEFENDANT)

Date: : ,

_ a “ >

“' (TYPE ORPRINTNAME) . (ATTORNEY FOR DEFENDANT)

Date: . , St

aban > . . |

~~" (TYPE OR PRINT NAME) ~——"“(ATTORNEY FOR DEFENDANT)

Date: -

(TYPE OR PRINT NAME)

Date: ; -

"TYPE OR PRINT NAME)

Date: ;

    

LSC keteduunt STIPULATION — EARLY ORGANIZATIONAL MEETING

“(ATTORNEY FOR

Page 2 0f 2
Case 2:14-cv-08906-ODW-SH * Document 11-1 Filed 11/24/14 Page 45 of 54 Page ID #:173

ert.

 

"| NAME AND ADDRESS OF ATTORNEY OR PARTY WITKOUT ATTORNEY: "7 STATE BAR NUMBER "Reserved br Clect’s Fa Sing

 

 

FAXNO; (Optra ,

  

 

: URT OF CALIFORNIA, COUNTY OF LOS. ANGELES
COURTHOUSE ADDRESS:

DEFENDANT:

 

STIPULATION ~ DISCOVERY RESOLUTION

 

 

 

 

This stipulation Is Intended to provide : a fast and informal. resolution of discovery issues

. through. limited paperwork and an Informal conference ‘with the Court to aid in the
resolution. of the issues.

The. parties: agree that:

1. Prior to the discovery cutoff In this action, no discovery motion shall be filed or heard unless

the: moving party first makes a written request for an informal Discovery Conference pursuant
. to the terms of this: stipulation.

2. Atthe informal: Discovery Conference the Court wil consider the dispute presented by patties
- and determine whether it can be resolved informally. Nothing set forth herein will.preclude.a

party from making a record at the conclusion of an Informal Discovery Conference, elther
orally or in. writing.

-3. Following a reasonable and good faith attempt at an. informal resolution of each issue to be

. presented, a party may request an Informal Discovery Conference pursuant | to the @ following
procedures:

a. The party requesting the Informal Discovery Conference will:

i. FHe a Request for informal: Discovery Conference with the clerk's office on the
approved form (copy attached) and. deliver a courtesy, conformed copy to the
assigned department;

ii. Include’ brief summary of the dispute and specify the relief requested; and

| wi. Serve the opposing party pursuant to any authorized or agreed method of service
. that ensures that the opposing party receives the Request for informal Discovery
Conference no later than the:next court day following the filing. :
b. Any Answer to a Request for Informal Discovery Conference must:
i. Also be filed ‘on the approved form (copy attached);

ii, Include a brief summary of why the requested relief should be denied;

 

an "STIPULATION = DISCOVERY RESOLUTION

Page 1of3
Case 2:14-cv-08906-ODW-SH' Document 11-1 Filed 11/24/14 Page 46 of 54 “Page ID #:174

 

SHORT TITLE: ~~ 'T) case nena

 

 

 

 

i. Bei fled within two (2) court day of receipt of the. Request; and

  

WV. Be. served the opposing party pursuant to: any: authorized: or agreed upon
_ method of service that ensures that the opposing Parly:r recéives the Answer no.
later than the next court day: following the'filing.

Cc. No other pleadings, including but not: limited to axhibits, declarations, or attachments, will
be accepted.

d. If the Court has not granted or denied the Request for Informal Discovery Conference
within ten (10) days following the filing of the Request, then it shall be deemed to have _
been denied, If the Court acts on the Request, the: parties will be ‘notified whether the
Request { for Informat Discovery Conference has been granted or denied and, if granted,
the date and time of the Informal Discovery Conference, which must be within twenty (20)
days of the filing of the Request for Informa! Discovery Conference.

8. If the. conference is not held within twenty (20) days of the filing of the Request for
Informal Discovery Conference, unless extended by agreement of the parties and the

Court, then the Request for the informal Discovery Gontorenge shail be. deemed. to have
been denied at that time,

4. If (a) the Court has dénied‘a ‘conference or (b) one of the time deadlines above has: expired
without the Court having acted or (c)1 the Informal Discovery Conference is concluded without
resolving the dispute, thena party may file a discovery motion to. address unresolved Issues.

5. The parties hereby further agree. that the time for making a motion to compel or other
discovery motion Is tolled from the date of filing of the Request for Informal Discovery
Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the

filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
by Order of the Court.

It is the understanding and: intent of the parties that this stipulation shall, for each discovery
dispute to which It applies, constitute a writing memorlajizing a “specific later date to which
the propounding [or demanding or requesting] party and the responding party hava agreed in in

writing,” within the meaning of Code Civil Procedure sections 2030 0.900(0) 2031. :320(c), and
2033. 290(c).

6. Nothing: herein will preclude any y party from applying ex parte for appropriate relflef, including
.an order shortening time for a motion to be heard: conceming discovery.

 

7. Any party: may terminate this stipulation by giving twenty-one (21) days notice of intent to
terminate the stipulation.

8. References to “days” mean: calendar. days, uiless. otherwise noted, if the date for performing
any act t it to this stipe ation fa a: Se turday Sunday or Court holiday, then the time

        
 
 

 

 

for perfor

 

Teves en «STIPULATION - DISCOVERY RESOLUTION Page 2043
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed-11/24/14 Page 47 of 54- Page ID #:175

te eg” - : Lo
ar : : co.
: ‘ . :

Afar

 

 

 

 

 

__ The following parties stipulate:
Date; |

ate: ™ ee

YE OR PRINT NAME) ~~" FATTORNEY FOR DEFENDANT)
Date: es

 

rs TYPE ORPRINT N oo peermunmes {ATTORNEY FOR DEFENDANT) —
‘Date: . .

QYPE OR PRINT RAM —— ATTORNEY FOR DEFENDANT)
‘ Date: . a OO °

"PE OR PRINT NAME) (ATTORNEY FoR

——!
Date: = ~

 

 

 

Date ] re — —

 

 

pare

 

eri. STIPULATION — DISCOVERY RESOLUTION Fuge 03
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 48 of 54 Page ID #:176

 

{WANE AND ADDRESS GP ATTORNEY OR PARTYWNATHOUT ATTORNEN "| stare wan nusaser * * peamaeved tar Chere Fhe Stop

 

 

 

TELERHONE | NO: -,

   
 

FAK No. Oey

 

SUPERIOR R COURT OF CALIFORNIA, COUNTY OF Los ANGELES
Pe OURTHOUSE AD ADDRESS:

 

 

 

 

; SNE
STIPULATION AND ORDER-MOTIONSINLIMINE |

 

 

 

. This stipulation is Intended to: provide. fast. and ‘Informal. resolution of. evidentiary
issues through diligent efforts to define and discuss such issues and. limit paperwork.

7 | The parties. agree that:

1. At least _= days before the final status conference, seach pay will eed | all -other
parties: with a list containing 2 9 one: perspreph a janati

jimine.. Each one paragraph:

motion In liming and the grounds. for th

  
 

2. The parties. thereafter will: meet. ‘and ‘confer, either in person or via “seleconference or

videoconference, concerning alt. proposed | mobons in imine. In that meet and confer, the
parties will determine:

8. Whether: the parties. can stipulate to any of the proposed motions. if the parties. so
stipulate, they may ‘file: a stipulation and proposed order with the Court.

. b. Whether: any of the. proposed motions can be briefed and: submitted by means of a
short joint statement of issues. For each motion which can be addressed by a short
Joint statement of issues, a short joint statement of Issues must be filed with the Court
10 days prior to the final status conference. Each side’s portion of the short joint
statement of issues may not exceed three pages. ‘The parties will meet and confer to
agree.on a date and manner for exchanging the parties’ respective portions of the

short joint statement of issues: and the process for filing the short joint statement of
issues,

3. All proposed motions In limine that are not elther the subject of a stipulation or briefed via

a short joint staternent of. Issues will be briefed and filed in accordance with the Califomia
Rules of Court.and the Los Angeles Superior Court Rules,

 

“DEV OS he) STIPULATION AND ORDER— MOTIONS IN LIMINE ‘Page $082
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 49 of 54 Page ID #:177

oe
aan
£701 Me

   

 

 

 

 

 

The following parties stipuiate:

Date:

"(TYPE OR PRINT NAME)

— "ATTORNEY FOR PLAINTIFF) ~
Date: =e

   

“7 —(FYPE OR PRINT NAME)
tt

   

Date: eo :

 

 

"HVPE OR PRINT NAME) _ “7 “RFTORNEV FORDEFENDANT)

>

 

~~ {F¥PEOR PRINT NAME) “(ATTORNEY FOR
Dates 8 CE

ee
“(ATTORNEY FOR______
"(ATTORNEY FOR

 

 

 

 

U i

THE COURT SO ORDERS.

Date: _.

 

|) JUDICIAL OFFICER

evaietvany STIPULATION AND ORDER — MOTIONS IN LIMINE Faye 20t2
Case 2:14-cv-08906-ODW-SH Document 11-1. Filed 11/24/14 Page 50 of54 Page ID#:178 ©

2 Loa z poe . so . . . , een, .
SOR ves fs meee ys : ‘ . . f wo

4

 

{| Namen avonessicrarromeyonpanrywmiourariommy, | avaremnninimen astra rt tare

 

 

FAK NO, (Ontnay

   

 

 

 

 

 

 

 

 

 

 
   
  

| Request for informal: Discovery Conference
0 dects: on: n Request: . (ieert dats 10 calendar daye following fling of

_.. (insert dale 20 calendar

 

 

“Thev Oe be) INFORMAL 5 jSCOVERY CONFERENCE
LASC Approved 04/14 Gureuant to the Discovery Resokition Stipulation of the parties)
Case 2:14-cv-08906-ODW-SH Document 11-1 Filed 11/24/14 Page 51o0f54 Page ID #:179

Exhibit B
- Case 2:14-cv-08906-ODW-SH Document 11-1 ~ Filed 11/24/14 Page 520f54 Page ID #:180

Aye.
1 ' gow
x

 

POS-010

 

 

ATTORNEY OR PANTY. WITHOUT: ATTORNEY (Name, Suate’ Bar number, and address):
| Stephen ‘M. Harris: (SBN 110626) -
Knapp, Petersen & Clarke.

550. North: Brand. Boulevard, ‘Suite 1500
Glendale, CA 91203.

 

  

FOR COURT USE ONLY

E-MAIL’ ADDRESS (Option : Sl

 

 

“FAX ‘NO. 0 (Oana: 818-547-6329 ~ Super Court ot California

Feounty of Los Angeles.

 
  

Plaintiff LULU MALONE, etc.

ATTORNEY FOR (Name):

 

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS: ANGELES.

SEP 10 2014
600: SOUTH COMMONWEALTH AVENUE

STREET ADDRESS:
' _ Sherr ik. Carter, Exeeutive Ofticer/Clerk

 

 

DEFENDANT/RESPONDENT: HANDYBOOK, INC., and DOES 1-100, inclusive

maiincaporess: .600:SOUTH. COMMONWEALTH AVENUE
crvaoze coos; ~LOSANGELES,CA90005 = : T ‘Kandece Bennett, Depaty
BRANCH NAME: ‘CENTRAL CIVIL WEST Ce bpy cae
_ PLAINTIFF/PETITIONER: Plaintiff LULU: MALONE, individually and ¢ on. bbehat of @. | GASE NUMBER: .
‘BC555367:

class of similarly situated individuals

 

 

Ref. No. or File No: -

PROOF OF SERVICE OF SUMMONS

 

 

 

(Separate proof of service is required for each party served.)

1. At the time of service | was at least 18 years of age and not a party to this action.
2. {served copies of:
a. summons
b. 2d complaint
c. LX Altemative Dispute Resolution (ADR) package
d. [] Civil Case Cover Sheet (served in complex cases only)
e. [1] cross-complaint
f. [X other (specify documents): Civil Case Cover Sheet Addendum and Statement of Location; Notice of Case
Assignment-Class Action Cases; blank Voluntary Efficient Litigation Stipulations
3. a. Party served (specify name of party as shown on documents served): Handybook, Inc.
b. BX Person (other than the party in item 3a) served on behalf of an entity or 4$-an authorized agent (and not a person —
under item 5b on whom substituted service was made) (specify name‘and relationship fo the party named in item 3a):
CT Corporation System - Registered Agent for Service of Process
4. Address where the party was-served: 155 Federal Street, Suite 700, Boston, MA 02110
5. | served the party (check proper box)

a.] by personal service. | personally delivered the documents listed in item 2 to the party or person authorized to
receive service of process for the party (1) on (date): (2) at (time):

b. (_] by substituted service. On (date): at (fime): | left the documents listed in item 2 with or
in the presence of (name and title or relationship to person indicated in item 3):

(1) LC] (business) a person at least 18 years of age apparently in charge at the office or usual place of business
of the person to be served. | informed him or her of the general nature of the papers.

(2) [1 (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
place of abode of the party. | informed him or her of.the general nature of the papers.

(3) [] (physical address unknown) a-person at least 18 years of age apparently in charge at the usual mailing
address ofthe person to be served, other:than.a United States Postal Service post office box. | informed
him or her of the general nature of the papers. :

(4) [| | thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
at the place where the copies were left (Code Civ. Proc., § 415.20). t mailed. the documents on
(date): from (city): or (_] a declaration of mailing is attached.

(5) (J [attach a declaration of diligence stating actions taken first to attempt personal service.

Page 1 of 2

 

Form Adopted for Mandatory Use

‘ : nt by -“ 3 Code of Civil Procedure, § 417.10
Judicial Council of California PROOF OF SERVICE OF SUMMONS
POS-010 [Rev, January 1, 2007}
_ Case 2:14-¢v- 08006. CDW: SH: Document: it 1:: Filed L24ita Page 53 of 54 Page ID-#:181

oy .
Poa dy.

Phe AINTIFFYPETITIONER: Plaintiff LULU MALONE, individually and-on. behalf ofa | CASE NUMBER:
' class of similarly situated individuals BC555367
| DEFENDANT/RESPONDENT: HANDYBOOK, INC., and DOES 4-100, inclusive

 

 

 

 

 

5: oc. K] by mail ‘and acknowledgment of receipt of service. | mailed the documents listed in item 2 to the party, to the
address shown in item 4, by first-class mail, postage prepaid,
(1)-0n (date): August ; 29, 2014 (2) from (city): Glendale, CA
@) Oo with’ ‘two copies of the Notice and: Acknowledgment of Receipt. anda postage-paid retum: envelope addressed
. to me. (Attach completed Notice and. Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
: (4): Bd to-an: address : outside California with return receipt. requested. (Code Civ. Proc. § 415.40. )

d. (1) by other means (specify means of service and authorizing code section):

[[] Additional page describing service is attached.

6. The "Notice tothe Person Served" (on the summons) was completed as follows:
a. as‘an individual defendant.
as the person sued under the fictitious name of (specify):
as.occupant.
‘On behalf of (specify): Handybook, Inc.
under the following Code of Civil Procedure section:
[XJ 416.10 (corporation)
[-] 416.20 (defunct corporation)
[7] -416:30 (joint stock company/association) ~
(-]. 416.40 (association or partnership)
[| 416.50 (public entity)

ooo

b
c.
d

5

415.95 (business organization, form unknown)
416.60 (minor)

416.70 (ward or conservatee)

416.90 (authorized person)

415.46 (occupant)

other:

OOOO

7. Person who served papers
a. Name: Stephe

Address: 550 North: Brand Boulevard, Suite 1500, Glendale, CA 91203

Telephone number: 818-547- 5000

The fee for service was: $

lam:

  

ooa2o9o

(1) not a registered California process server.
(2) [-] exempt from registration under Business and Professions Code section 22350(b).
(3) [C1 a registered California process server:

(@) [1 owner [] employee [[] independent contractor.

(ii) Registration No.:

(iii) County:

g. Bd {declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

or
9. C]_ Jama California sheriff or marshal and | certify that the foregoing is true and correct.

Date: August 29, 2014

 

 

 

Stephen M. Harris »
(NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL) a ~(SIGNATORE)
POS-040 [Rev. January 1, 2007] PROOF OF SERVICE OF SUMMONS Page 2 of 2

 

American LegaiNet, Inc.
www.FormsWorkflow.com

 

 

 

 
Case: 2:14-cv-08906-ODW-SH Document 11-1 “Filed'11/24/14 * Page 54. of 54 Page ID #:182

 

 

ER: COMPLETE THIS SECTION COMPLETE THIS SECTION ON DELIVERY

 

 

 

 

 

 

 

 

 

 

  

 

 

_7012 8210-0000. 2417 34ey

 
